                                                                               Case 09-25588-MBK                        Doc 1
                                                                                                                            Filed 06/16/09 Entered 06/16/09 17:36:11 Desc Main
                                                                     B1 (Official Form 1) (1/08)                           Document      Page 1 of 61
                                                                                                           United States Bankruptcy Court
                                                                                                                District of New Jersey                             Voluntary Petition
                                                                      Name of Debtor (if individual, enter Last, First, Middle):                             Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                      Buck, Raymond Paul Jr.                                                                 Buck, Tina Marie
                                                                      All Other Names used by the Debtor in the last 8 years                                 All Other Names used by the Joint Debtor in the last 8 years
                                                                      (include married, maiden, and trade names):                                            (include married, maiden, and trade names):



                                                                      Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete
                                                                      EIN (if more than one, state all): 2577                                                EIN (if more than one, state all): 7193

                                                                      Street Address of Debtor (No. & Street, City, State & Zip Code):                       Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                      248 Long Branch Avenue                                                                 248 Long Branch Avenue
                                                                      Bayville, NJ                                                                           Bayville, NJ
                                                                                                                             ZIPCODE 08721                                                                          ZIPCODE 08721
                                                                      County of Residence or of the Principal Place of Business:                             County of Residence or of the Principal Place of Business:
                                                                      Ocean                                                                                  Ocean
                                                                      Mailing Address of Debtor (if different from street address)                           Mailing Address of Joint Debtor (if different from street address):


                                                                                                                             ZIPCODE                                                                                ZIPCODE
                                                                      Location of Principal Assets of Business Debtor (if different from street address above):

                                                                                                                                                                                                                    ZIPCODE
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                                                                                         Type of Debtor                                       Nature of Business                          Chapter of Bankruptcy Code Under Which
                                                                                     (Form of Organization)                                    (Check one box.)                             the Petition is Filed (Check one box.)
                                                                                        (Check one box.)                           Health Care Business                            ü Chapter
                                                                                                                                                                                     Chapter 7                 Chapter 15 Petition for
                                                                     üSee
                                                                      Individual (includes Joint Debtors)
                                                                          Exhibit D on page 2 of this form.
                                                                                                                                   Single Asset Real Estate as defined in 11
                                                                                                                                   U.S.C. § 101(51B)
                                                                                                                                                                                             9
                                                                                                                                                                                       Chapter 11
                                                                                                                                                                                                               Recognition of a Foreign
                                                                                                                                                                                                               Main Proceeding
                                                                        Corporation (includes LLC and LLP)                         Railroad                                            Chapter 12              Chapter 15 Petition for
                                                                        Partnership                                                Stockbroker                                         Chapter 13              Recognition of a Foreign
                                                                        Other (If debtor is not one of the above entities,         Commodity Broker                                                            Nonmain Proceeding
                                                                        check this box and state type of entity below.)            Clearing Bank                                                         Nature of Debts
                                                                                                                                   Other                                                                 (Check one box.)

                                                                                                                                              Tax-Exempt Entity
                                                                                                                                                                                   ü   Debts are primarily consumer
                                                                                                                                                                                      debts, defined in 11 U.S.C.
                                                                                                                                                                                                                          Debts are primarily
                                                                                                                                                                                                                          business debts.
                                                                                                                                           (Check box, if applicable.)                § 101(8) as “incurred by an
                                                                                                                                   Debtor is a tax-exempt organization under          individual primarily for a
                                                                                                                                   Title 26 of the United States Code (the            personal, family, or house-
                                                                                                                                   Internal Revenue Code).                            hold purpose.”
                                                                                                 Filing Fee (Check one box)                                                               Chapter 11 Debtors
                                                                                                                                                             Check one box:
                                                                     üFull Filing Fee attached                                                                 Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                                                                               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                        Filing Fee to be paid in installments (Applicable to individuals only). Must
                                                                        attach signed application for the court’s consideration certifying that the debtor   Check if:
                                                                        is unable to pay fee except in installments. Rule 1006(b). See Official Form           Debtor’s aggregate noncontingent liquidated debts owed to non-insiders or
                                                                        3A.                                                                                    affiliates are less than $2,190,000.
                                                                                                                                                               -----------------------------------------------------
                                                                        Filing Fee waiver requested (Applicable to chapter 7 individuals only). Must         Check all applicable boxes:
                                                                        attach signed application for the court’s consideration. See Official Form 3B.         A plan is being filed with this petition
                                                                                                                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                                                                                                                               creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                      Statistical/Administrative Information                                                                                                            THIS SPACE IS FOR
                                                                         Debtor estimates that funds will be available for distribution to unsecured creditors.                                                         COURT USE ONLY
                                                                      ü  Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                         distribution to unsecured creditors.
                                                                     Estimated Number of Creditors
                                                                     ü
                                                                     1-49      50-99         100-199      200-999       1,000-          5,001-           10,001-         25,001-          50,001-         Over
                                                                                                                        5,000           10,000           25,000          50,000           100,000         100,000
                                                                     Estimated Assets
                                                                                             ü
                                                                     $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                     Estimated Liabilities
                                                                                             ü
                                                                     $0 to   $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                              Case 09-25588-MBK                    Doc 1       Filed 06/16/09 Entered 06/16/09 17:36:11                                      Desc Main
                                                                     B1 (Official Form 1) (1/08)                               Document     Page 2 of 61                                                                    Page 2
                                                                     Voluntary Petition                                                              Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                          Buck, Raymond Paul Jr. & Buck, Tina Marie

                                                                                             Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:District Of New Jersey, Trenton Vicinage (Ch. 7)                   00-50217/SAS                              1/7/2000
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:N/A
                                                                         Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                      Name of Debtor:                                                                Case Number:                              Date Filed:
                                                                      None
                                                                      District:                                                                      Relationship:                             Judge:


                                                                                                     Exhibit A                                                                            Exhibit B
                                                                      (To be completed if debtor is required to file periodic reports (e.g., forms                   (To be completed if debtor is an individual
                                                                      10K and 10Q) with the Securities and Exchange Commission pursuant to                          whose debts are primarily consumer debts.)
                                                                      Section 13 or 15(d) of the Securities Exchange Act of 1934 and is              I, the attorney for the petitioner named in the foregoing petition, declare
                                                                      requesting relief under chapter 11.)                                           that I have informed the petitioner that [he or she] may proceed under
                                                                                                                                                     chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                          Exhibit A is attached and made a part of this petition.                    explained the relief available under each such chapter. I further certify
                                                                                                                                                     that I delivered to the debtor the notice required by § 342(b) of the
                                                                                                                                                     Bankruptcy Code.
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                                                                                                                                                     X   /s/ Lee D. Gottesman                                           6/16/09
                                                                                                                                                         Signature of Attorney for Debtor(s)                                 Date

                                                                                                                                             Exhibit C
                                                                      Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
                                                                      or safety?
                                                                          Yes, and Exhibit C is attached and made a part of this petition.
                                                                      ü No
                                                                                                                                             Exhibit D
                                                                      (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                          ü Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                      If this is a joint petition:
                                                                           ü Exhibit D also completed and signed by the joint debtor is attached a made a part of this petition.
                                                                                                                        Information Regarding the Debtor - Venue
                                                                                                                                     (Check any applicable box.)
                                                                          ü Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                              preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                              There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
                                                                              Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
                                                                              or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
                                                                              in this District, or the interests of the parties will be served in regard to the relief sought in this District.

                                                                                                    Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                (Check all applicable boxes.)
                                                                              Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                        (Name of landlord or lessor that obtained judgment)

                                                                                                                                    (Address of landlord or lessor)
                                                                              Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                                                                              the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                              Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                                                              filing of the petition.
                                                                              Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                                                                                 Case 09-25588-MBK                        Doc 1      Filed 06/16/09 Entered 06/16/09 17:36:11                                              Desc Main
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                                                                     Voluntary Petition                                                                     Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                                 Buck, Raymond Paul Jr. & Buck, Tina Marie

                                                                                                                                                      Signatures
                                                                                     Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
                                                                      I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this
                                                                      petition is true and correct.                                                         petition is true and correct, that I am the foreign representative of a debtor
                                                                      [If petitioner is an individual whose debts are primarily consumer debts              in a foreign proceeding, and that I am authorized to file this petition.
                                                                      and has chosen to file under Chapter 7] I am aware that I may proceed                 (Check only one box.)
                                                                      under chapter 7, 11, 12 or 13 of title 11, United State Code, understand
                                                                                                                                                                 I request relief in accordance with chapter 15 of title 11, United
                                                                      the relief available under each such chapter, and choose to proceed under
                                                                                                                                                                 States Code. Certified copies of the documents required by 11 U.S.C.
                                                                      chapter 7.
                                                                                                                                                                 § 1515 are attached.
                                                                      [If no attorney represents me and no bankruptcy petition preparer signs
                                                                      the petition] I have obtained and read the notice required by 11 U.S.C. §                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
                                                                      342(b).                                                                                    chapter of title 11 specified in this petition. A certified copy of the
                                                                      I request relief in accordance with the chapter of title 11, United States                 order granting recognition of the foreign main proceeding is attached.
                                                                      Code, specified in this petition.
                                                                                                                                                            X
                                                                      X   /s/ Raymond Paul Buck, Jr.                                                             Signature of Foreign Representative
                                                                          Signature of Debtor                            Raymond Paul Buck, Jr.
                                                                      X   /s/ Tina Marie Buck                                                                    Printed Name of Foreign Representative
                                                                          Signature of Joint Debtor                               Tina Marie Buck
                                                                                                                                                                 Date
                                                                          Telephone Number (If not represented by attorney)
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                                                                          June 16, 2009
                                                                          Date

                                                                                                      Signature of Attorney*                                               Signature of Non-Attorney Petition Preparer
                                                                                                                                                            I declare under penalty of perjury that: 1) I am a bankruptcy petition
                                                                      X   /s/ Lee D. Gottesman                                                              preparer as defined in 11 U.S.C. § 110; 2) I prepared this document for
                                                                          Signature of Attorney for Debtor(s)                                               compensation and have provided the debtor with a copy of this document
                                                                                                                                                            and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                          Lee D. Gottesman LG8582                                                           110(h) and 342(b); 3) if rules or guidelines have been promulgated
                                                                          Law Offices of Lee D. Gottesman                                                   pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
                                                                          509 Main Street, P.O. Box 1508                                                    chargeable by bankruptcy petition preparers, I have given the debtor
                                                                          Toms River, NJ 08754-1508
                                                                          (732) 914-1055 Fax: (732) 914-1223                                                notice of the maximum amount before preparing any document for filing
                                                                          lee@ldg-law.com                                                                   for a debtor or accepting any fee from the debtor, as required in that
                                                                                                                                                            section. Official Form 19 is attached.

                                                                                                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer


                                                                                                                                                            Social Security Number (If the bankruptcy petition preparer is not an individual, state the
                                                                                                                                                            Social Security number of the officer, principal, responsible person or partner of the
                                                                                                                                                            bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                          June 16, 2009
                                                                          Date
                                                                      *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a         Address
                                                                      certification that the attorney has no knowledge after an inquiry that the
                                                                      information in the schedules is incorrect.

                                                                                  Signature of Debtor (Corporation/Partnership)                             X
                                                                                                                                                                 Signature of Bankruptcy Petition Preparer or officer, principal, responsible person, or
                                                                      I declare under penalty of perjury that the information provided in this                   partner whose social security number is provided above.
                                                                      petition is true and correct, and that I have been authorized to file this
                                                                      petition on behalf of the debtor.
                                                                                                                                                                 Date
                                                                      The debtor requests relief in accordance with the chapter of title 11,                Names and Social Security numbers of all other individuals who
                                                                      United States Code, specified in this petition.                                       prepared or assisted in preparing this document unless the bankruptcy
                                                                                                                                                            petition preparer is not an individual:
                                                                      X
                                                                          Signature of Authorized Individual

                                                                                                                                                            If more than one person prepared this document, attach additional
                                                                          Printed Name of Authorized Individual                                             sheets conforming to the appropriate official form for each person.
                                                                                                                                                            A bankruptcy petition preparer’s failure to comply with the provisions
                                                                          Title of Authorized Individual                                                    of title 11 and the Federal Rules of Bankruptcy Procedure may result
                                                                                                                                                            in fines or imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
                                                                          Date
                                                                             Case 09-25588-MBK            Doc 1     Filed 06/16/09 Entered 06/16/09 17:36:11                   Desc Main
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                                                                     IN RE Buck, Raymond Paul Jr. & Buck, Tina Marie                                         Case No.
                                                                                                                Debtor(s)

                                                                                                                      VOLUNTARY PETITION
                                                                                                                     Continuation Sheet - Page 1 of 1
                                                                     AGREEMENT BETWEEN COUNSEL AND DEBTOR(S) REGARDING CREDITOR ACCOUNT NUMBERS AND SOCIAL SECURITY
                                                                     NUMBERS

                                                                     The undersigned Debtor(s) hereby authorize the Law Offices of Lee D. Gottesman, Lee D. Gottesman, Esq., Mary Beth
                                                                     Schroeder, Esq., and any officer, agent or employee thereof to use our full account identification numbers and our Federal
                                                                     Social Security Numbers, when available, in the preparation of our bankruptcy petition and schedules, and in accounts, to
                                                                     insure that all creditors and all officers, agents, employees, and attorneys thereof have adequate information to ensure the
                                                                     proper identification by the said parties of our accounts and of the fact that we are currently Debtors under the United States
                                                                     Bankruptcy Code, and as such are fully protected from any type of adverse creditor action by virtue of the automatic stay.
                                                                     This authroization will extend to and include either verbal or written or electronic verification as to the said parties of the
                                                                     relevant account numbers and/or Social Security Numbers as required or as deemed necessary and appropriate. This
                                                                     authorization shall remain in full force and effect until and unless it is revoked by a written document duly executed by the
                                                                     undersigned parties and actually delivered to the Law Offices of Lee D. Gottesman. Any such written revocation shall
                                                                     become effective fifteen (15) days after receipt thereof.

                                                                     Dated: June 16, 2009




                                                                     /s/ Raymond Paul Buck, Jr.
                                                                     _______________________________
                                                                     Raymond Paul Buck, Jr.
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                                                                     /s/ Tina Marie Buck
                                                                     _______________________________
                                                                     Tina Marie Buck
                                                                               Case 09-25588-MBK                Doc 1        Filed 06/16/09 Entered 06/16/09 17:36:11                     Desc Main
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                                                                                                                        United States Bankruptcy Court
                                                                                                                             District of New Jersey

                                                                     IN RE:                                                                                           Case No.
                                                                     Buck, Raymond Paul Jr.                                                                           Chapter 7
                                                                                                                 Debtor(s)

                                                                                               EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
                                                                                                         WITH CREDIT COUNSELING REQUIREMENT
                                                                     Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
                                                                     do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
                                                                     whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
                                                                     and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
                                                                     to stop creditors’ collection activities.
                                                                     Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. Check
                                                                     one of the five statements below and attach any documents as directed.

                                                                     ü  1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
                                                                     certificate and a copy of any debt repayment plan developed through the agency.
                                                                        2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
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                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
                                                                     a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
                                                                     the agency no later than 15 days after your bankruptcy case is filed.
                                                                        3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the five
                                                                     days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
                                                                     requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                     If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after
                                                                     you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
                                                                     of any debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
                                                                     case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
                                                                     also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
                                                                     counseling briefing.
                                                                       4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied by a
                                                                     motion for determination by the court.]
                                                                            Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
                                                                            of realizing and making rational decisions with respect to financial responsibilities.);
                                                                            Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
                                                                            participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                                                                            Active military duty in a military combat zone.
                                                                        5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
                                                                     does not apply in this district.
                                                                     I certify under penalty of perjury that the information provided above is true and correct.


                                                                     Signature of Debtor: /s/ Raymond Paul Buck, Jr.
                                                                     Date: June 16, 2009
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                                                    Certificate Number: 00252-NJ-CC-007382063




                        CERTIFICATE OF COUNSELING

                  June 16, 2009
I CERTIFY that on _______________________,    10:18
                                           at _____________ o’clock ______________,
                                                                    AM EDT

______________________________________________
Raymond P Buck Jr                              received from

_____________________________________________________________________________,
Institute for Financial Literacy, Inc.

an agency approved pursuant to 11 U.S.C. § 111 to provide credit counseling in the

District of New Jersey
_______________________________________, an individual [or group] briefing that complied

with the provisions of 11 U.S.C. §§ 109(h) and 111.

                      was not prepared
A debt repayment plan _________________. If a debt repayment plan was prepared, a copy of

the debt repayment plan is attached to this certificate.

                                      by internet and telephone
This counseling session was conducted _____________________________.



      June 16, 2009
Date: _______________________                  By       /s/Ian Graham
                                                        ___________________________________

                                               Name ___________________________________
                                                    Ian Graham

                                               Title    ___________________________________
                                                        Credit Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
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                                                                                                                        United States Bankruptcy Court
                                                                                                                             District of New Jersey

                                                                     IN RE:                                                                                           Case No.
                                                                     Buck, Tina Marie                                                                                 Chapter 7
                                                                                                                 Debtor(s)

                                                                                               EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
                                                                                                         WITH CREDIT COUNSELING REQUIREMENT
                                                                     Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
                                                                     do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
                                                                     whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
                                                                     and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
                                                                     to stop creditors’ collection activities.
                                                                     Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. Check
                                                                     one of the five statements below and attach any documents as directed.

                                                                     ü  1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
                                                                     certificate and a copy of any debt repayment plan developed through the agency.
                                                                        2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
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                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
                                                                     a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
                                                                     the agency no later than 15 days after your bankruptcy case is filed.
                                                                        3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the five
                                                                     days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
                                                                     requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                     If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after
                                                                     you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
                                                                     of any debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
                                                                     case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
                                                                     also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
                                                                     counseling briefing.
                                                                       4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied by a
                                                                     motion for determination by the court.]
                                                                            Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
                                                                            of realizing and making rational decisions with respect to financial responsibilities.);
                                                                            Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
                                                                            participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                                                                            Active military duty in a military combat zone.
                                                                        5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
                                                                     does not apply in this district.
                                                                     I certify under penalty of perjury that the information provided above is true and correct.


                                                                     Signature of Debtor: /s/ Tina Marie Buck
                                                                     Date: June 16, 2009
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                                                    Certificate Number: 00252-NJ-CC-007382064




                        CERTIFICATE OF COUNSELING

                  June 16, 2009
I CERTIFY that on _______________________,    10:18
                                           at _____________ o’clock ______________,
                                                                    AM EDT

______________________________________________
Tina M Buck                                    received from

_____________________________________________________________________________,
Institute for Financial Literacy, Inc.

an agency approved pursuant to 11 U.S.C. § 111 to provide credit counseling in the

District of New Jersey
_______________________________________, an individual [or group] briefing that complied

with the provisions of 11 U.S.C. §§ 109(h) and 111.

                      was not prepared
A debt repayment plan _________________. If a debt repayment plan was prepared, a copy of

the debt repayment plan is attached to this certificate.

                                      by internet and telephone
This counseling session was conducted _____________________________.



      June 16, 2009
Date: _______________________                  By       /s/Ian Graham
                                                        ___________________________________

                                               Name ___________________________________
                                                    Ian Graham

                                               Title    ___________________________________
                                                        Credit Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
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                                                                                                             UNITED STATES BANKRUPTCY COURT

                                                                                                    NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                                                                                 OF THE BANKRUPTCY CODE

                                                                        In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1)
                                                                     Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs
                                                                     of the four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies
                                                                     you that the Attorney General may examine all information you supply in connection with a bankruptcy case.
                                                                        You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of
                                                                     an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you
                                                                     legal advice.
                                                                        Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure
                                                                     that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of
                                                                     any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other),
                                                                     and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single
                                                                     copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the
                                                                     court requesting that each spouse receive a separate copy of all notices.
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                                                                     1. Services Available from Credit Counseling Agencies
                                                                        With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
                                                                     bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit
                                                                     counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days before
                                                                     the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by telephone
                                                                     or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the United States
                                                                     trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget
                                                                     and credit counseling agencies. Each debtor in a joint case must complete the briefing.
                                                                        In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
                                                                     instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
                                                                     instructional courses. Each debtor in a joint case must complete the course.
                                                                     2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors
                                                                         Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)
                                                                         1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
                                                                     whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case should be
                                                                     permitted to proceed under chapter 7. If your income is greater than the median income for your state of residence and family
                                                                     size, in some cases, creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the
                                                                     Code. It is up to the court to decide whether the case should be dismissed.
                                                                         2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right
                                                                     to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
                                                                         3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
                                                                     committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if
                                                                     it does, the purpose for which you filed the bankruptcy petition will be defeated.
                                                                         4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
                                                                     be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
                                                                     settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not
                                                                     properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel,
                                                                     or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of
                                                                     fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not
                                                                     discharged.
                                                                       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $39
                                                                     administrative fee: Total fee $274)
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                                                                        1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments
                                                                     over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
                                                                     Bankruptcy Code.
                                                                        2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
                                                                     using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending
                                                                     upon your income and other factors. The court must approve your plan before it can take effect.
                                                                        3. After completing the payments under your plan, your debts are generally discharged except for domestic support
                                                                     obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
                                                                     properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
                                                                     secured obligations.
                                                                       Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
                                                                       Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
                                                                     complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.
                                                                        Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
                                                                        Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future
                                                                     earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises
                                                                     primarily from a family-owned farm or commercial fishing operation.
                                                                     3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
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                                                                        A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
                                                                     orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied
                                                                     by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office
                                                                     of the United States Trustee, the Office of the United States Attorney, and other components and employees of the Department
                                                                     of Justice.
                                                                        WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
                                                                     creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
                                                                     information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the
                                                                     local rules of the court.
                                                                                                      Certificate of [Non-Attorney] Bankruptcy Petition Preparer
                                                                     I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor this notice
                                                                     required by § 342(b) of the Bankruptcy Code.


                                                                     Printed Name and title, if any, of Bankruptcy Petition Preparer                                 Social Security number (If the bankruptcy
                                                                     Address:                                                                                        petition preparer is not an individual, state
                                                                                                                                                                     the Social Security number of the officer,
                                                                                                                                                                     principal, responsible person, or partner of
                                                                                                                                                                     the bankruptcy petition preparer.)
                                                                                                                                                                     (Required by 11 U.S.C. § 110.)
                                                                     X
                                                                     Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                                     partner whose Social Security number is provided above.

                                                                                                                            Certificate of the Debtor
                                                                     I (We), the debtor(s), affirm that I (we) have received and read this notice.



                                                                     Buck, Raymond Paul Jr. & Buck, Tina Marie                              X /s/ Raymond Paul Buck, Jr.                                6/16/2009
                                                                     Printed Name(s) of Debtor(s)                                              Signature of Debtor                                           Date


                                                                     Case No. (if known)                                                    X /s/ Tina Marie Buck                                       6/16/2009
                                                                                                                                               Signature of Joint Debtor (if any)                            Date
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                                                                     B22A (Official Form 22A) (Chapter 7) (12/08)                         According to the information required to be entered on this
                                                                                                                                          statement (check one box as directed in Part I, III, or VI of this
                                                                                                                                          statement):
                                                                                                                                               The presumption arises
                                                                     In re: Buck, Raymond Paul Jr. & Buck, Tina Marie                       ü  The presumption does not arise
                                                                                                       Debtor(s)                               The presumption is temporarily inapplicable.
                                                                     Case Number:
                                                                                                       (If known)


                                                                                               CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                                                                                          AND MEANS-TEST CALCULATION
                                                                     In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor, whether or not filing jointly.
                                                                     Unless the exclusion in Line 1C applies, joint debtors may complete a single statement. If the exclusion in Line 1C applies, each joint
                                                                     filer must complete a separate statement.


                                                                                                            Part I. MILITARY AND NON-CONSUMER DEBTORS
                                                                              Disabled Veterans. If you are a disabled veteran described in the Veteran’s Declaration in this Part I, (1) check the box at
                                                                              the beginning of the Veteran’s Declaration, (2) check the box for “The presumption does not arise” at the top of this
                                                                              statement, and (3) complete the verification in Part VIII. Do not complete any of the remaining parts of this statement.
                                                                       1A
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                                                                                 Veteran’s Declaration. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as defined
                                                                              in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as defined in
                                                                              10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).
                                                                              Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the verification
                                                                              in Part VIII. Do not complete any of the remaining parts of this statement.
                                                                       1B
                                                                                 Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.
                                                                              Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component
                                                                              of the Armed Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C. §
                                                                              101(d)(1)) after September 11, 2001, for a period of at least 90 days, or who have performed homeland defense activity (as
                                                                              defined in 32 U.S.C. § 901(1)) for a period of at least 90 days, are excluded from all forms of means testing during the time
                                                                              of active duty or homeland defense activity and for 540 days thereafter (the “exclusion period”). If you qualify for this
                                                                              temporary exclusion, (1) check the appropriate boxes and complete any required information in the Declaration of
                                                                              Reservists and National Guard Members below, (2) check the box for “The presumption is temporarily inapplicable” at the
                                                                              top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you are not required to
                                                                              complete the balance of this form, but you must complete the form no later than 14 days after the date on which your
                                                                              exclusion period ends, unless the time for filing a motion raising the means test presumption expires in your case before
                                                                              your exclusion period ends.

                                                                                 Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries
                                                                       1C     below, I declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve
                                                                              component of the Armed Forces or the National Guard

                                                                                       a.     I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                                                                                     I remain on active duty /or/
                                                                                                     I was released from active duty on                    , which is less than 540 days before this
                                                                                                 bankruptcy case was filed;

                                                                                                  OR

                                                                                       b.     I am performing homeland defense activity for a period of at least 90 days /or/
                                                                                              I performed homeland defense activity for a period of at least 90 days, terminating on                     ,
                                                                                            which is less than 540 days before this bankruptcy case was filed.
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                                                                                      Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
                                                                             Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
                                                                             a.  Unmarried. Complete only Column A (“Debtor’s Income”) for Lines 3-11.
                                                                             b.  Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
                                                                                 penalty of perjury: “My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I
                                                                                 are living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code.”
                                                                                 Complete only Column A (“Debtor’s Income”) for Lines 3-11.
                                                                             c.  Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both
                                                                       2
                                                                                 Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for Lines 3-11.
                                                                             d.ü Married, filing jointly. Complete both Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for
                                                                                 Lines 3-11.
                                                                             All figures must reflect average monthly income received from all sources, derived during         Column A       Column B
                                                                             the six calendar months prior to filing the bankruptcy case, ending on the last day of the        Debtor’s       Spouse’s
                                                                             month before the filing. If the amount of monthly income varied during the six months, you         Income         Income
                                                                             must divide the six-month total by six, and enter the result on the appropriate line.
                                                                       3     Gross wages, salary, tips, bonuses, overtime, commissions.                                    $     4,003.44 $       338.33
                                                                             Income from the operation of a business, profession or farm. Subtract Line b from Line
                                                                             a and enter the difference in the appropriate column(s) of Line 4. If you operate more than
                                                                             one business, profession or farm, enter aggregate numbers and provide details on an
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                                                                             attachment. Do not enter a number less than zero. Do not include any part of the business
                                                                       4     expenses entered on Line b as a deduction in Part V.
                                                                              a.   Gross receipts                                    $
                                                                              b.   Ordinary and necessary business expenses          $
                                                                              c.   Business income                                   Subtract Line b from Line a
                                                                                                                                                                           $         0.00 $         0.00
                                                                             Rent and other real property income. Subtract Line b from Line a and enter the
                                                                             difference in the appropriate column(s) of Line 5. Do not enter a number less than zero. Do
                                                                             not include any part of the operating expenses entered on Line b as a deduction in
                                                                             Part V.
                                                                       5
                                                                              a.   Gross receipts                                    $
                                                                              b.   Ordinary and necessary operating expenses         $
                                                                              c.   Rent and other real property income               Subtract Line b from Line a
                                                                                                                                                                           $         0.00 $         0.00
                                                                       6     Interest, dividends, and royalties.                                                           $         0.00 $         0.00
                                                                       7     Pension and retirement income.                                                                $         0.00 $         0.00
                                                                             Any amounts paid by another person or entity, on a regular basis, for the household
                                                                             expenses of the debtor or the debtor’s dependents, including child support paid for
                                                                       8
                                                                             that purpose. Do not include alimony or separate maintenance payments or amounts paid
                                                                             by your spouse if Column B is completed.                                                      $         0.00 $         0.00
                                                                             Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
                                                                             However, if you contend that unemployment compensation received by you or your spouse
                                                                             was a benefit under the Social Security Act, do not list the amount of such compensation in
                                                                       9     Column A or B, but instead state the amount in the space below:
                                                                              Unemployment compensation
                                                                              claimed to be a benefit under the
                                                                              Social Security Act                     Debtor $           0.00   Spouse $            0.00
                                                                                                                                                                           $         0.00 $         0.00
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                                                                            Income from all other sources. Specify source and amount. If necessary, list additional
                                                                            sources on a separate page. Do not include alimony or separate maintenance payments
                                                                            paid by your spouse if Column B is completed, but include all other payments of
                                                                            alimony or separate maintenance. Do not include any benefits received under the Social
                                                                            Security Act or payments received as a victim of a war crime, crime against humanity, or as
                                                                       10   a victim of international or domestic terrorism.
                                                                               a.                                                                         $
                                                                               b.                                                                         $
                                                                               Total and enter on Line 10                                                                  $            0.00 $         0.00
                                                                             Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A,
                                                                       11
                                                                             and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).        $     4,003.44 $         338.33
                                                                             Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add
                                                                       12    Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
                                                                             completed, enter the amount from Line 11, Column A.                                            $                     4,341.77

                                                                                                       Part III. APPLICATION OF § 707(B)(7) EXCLUSION
                                                                             Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number
                                                                       13
                                                                             12 and enter the result.                                                                                       $     52,101.24
                                                                             Applicable median family income. Enter the median family income for the applicable state and
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                                                                             household size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of
                                                                       14    the bankruptcy court.)
                                                                             a. Enter debtor’s state of residence: New Jersey                     b. Enter debtor’s household size:     6   $    116,834.00
                                                                             Application of Section707(b)(7). Check the applicable box and proceed as directed.

                                                                       15    ü  The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for “The presumption does
                                                                                not arise” at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI, or VII.
                                                                                The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.

                                                                                    Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)

                                                                                       Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
                                                                       16    Enter the amount from Line 12.                                                                                 $
                                                                             Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in
                                                                             Line 11, Column B that was NOT paid on a regular basis for the household expenses of the debtor or the
                                                                             debtor’s dependents. Specify in the lines below the basis for excluding the Column B income (such as
                                                                             payment of the spouse’s tax liability or the spouse’s support of persons other than the debtor or the
                                                                             debtor’s dependents) and the amount of income devoted to each purpose. If necessary, list additional
                                                                       17    adjustments on a separate page. If you did not check box at Line 2.c, enter zero.
                                                                               a.                                                                                      $
                                                                               b.                                                                                      $
                                                                               c.                                                                                      $
                                                                               Total and enter on Line 17.                                                                                  $
                                                                       18    Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                    $

                                                                                                  Part V. CALCULATION OF DEDUCTIONS FROM INCOME

                                                                                              Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)

                                                                             National Standards: food, clothing and other items. Enter in Line 19A the “Total” amount from IRS
                                                                      19A    National Standards for Food, Clothing and Other Items for the applicable household size. (This information
                                                                             is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                             $
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                                                                            National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
                                                                            Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
                                                                            Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
                                                                            www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the number of members of
                                                                            your household who are under 65 years of age, and enter in Line b2 the number of members of your
                                                                            household who are 65 years of age or older. (The total number of household members must be the same as
                                                                            the number stated in Line 14b.) Multiply Line a1 by Line b1 to obtain a total amount for household
                                                                            members under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for
                                                                      19B household members 65 and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total
                                                                            health care amount, and enter the result in Line 19B.
                                                                               Household members under 65 years of age               Household members 65 years of age or older
                                                                               a1.    Allowance per member                           a2.   Allowance per member
                                                                               b1.    Number of members                              b2.   Number of members
                                                                               c1.    Subtotal                                       c2.   Subtotal
                                                                                                                                                                                           $
                                                                             Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing
                                                                      20A    and Utilities Standards; non-mortgage expenses for the applicable county and household size. (This
                                                                             information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).                    $
                                                                             Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of
                                                                             the IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this
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                                                                             information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b
                                                                             the total of the Average Monthly Payments for any debts secured by your home, as stated in Line 42;
                                                                             subtract Line b from Line a and enter the result in Line 20B. Do not enter an amount less than zero.
                                                                      20B
                                                                               a.    IRS Housing and Utilities Standards; mortgage/rental expense        $
                                                                               b.    Average Monthly Payment for any debts secured by your home, if
                                                                                     any, as stated in Line 42                                           $
                                                                               c.    Net mortgage/rental expense                                         Subtract Line b from Line a
                                                                                                                                                                                           $
                                                                             Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A
                                                                             and 20B does not accurately compute the allowance to which you are entitled under the IRS Housing and
                                                                             Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis
                                                                             for your contention in the space below:
                                                                       21




                                                                                                                                                                                           $
                                                                             Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to
                                                                             an expense allowance in this category regardless of whether you pay the expenses of operating a vehicle
                                                                             and regardless of whether you use public transportation.
                                                                             Check the number of vehicles for which you pay the operating expenses or for which the operating
                                                                             expenses are included as a contribution to your household expenses in Line 8.
                                                                      22A        0     1     2 or more.
                                                                             If you checked 0, enter on Line 22A the “Public Transportation” amount from IRS Local Standards:
                                                                             Transportation. If you checked 1 or 2 or more, enter on Line 22A the “Operating Costs” amount from IRS
                                                                             Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
                                                                             Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk
                                                                             of the bankruptcy court.)                                                                                     $
                                                                             Local Standards: transportation; additional public transportation expense. If you pay the operating
                                                                             expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
                                                                      22B    additional deduction for your public transportation expenses, enter on Line 22B the “Public
                                                                             Transportation” amount from IRS Local Standards: Transportation. (This amount is available at
                                                                             www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                                $
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                                                                            Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
                                                                            which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more
                                                                            than two vehicles.)
                                                                               1      2 or more.
                                                                            Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards:
                                                                            Transportation (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b
                                                                       23   the total of the Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42;
                                                                            subtract Line b from Line a and enter the result in Line 23. Do not enter an amount less than zero.
                                                                               a.   IRS Transportation Standards, Ownership Costs                          $
                                                                                    Average Monthly Payment for any debts secured by Vehicle 1, as
                                                                               b.   stated in Line 42                                                      $
                                                                               c.   Net ownership/lease expense for Vehicle 1                              Subtract Line b from Line a
                                                                                                                                                                                              $
                                                                             Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you
                                                                             checked the “2 or more” Box in Line 23.
                                                                             Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards:
                                                                             Transportation (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b
                                                                             the total of the Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42;
                                                                       24    subtract Line b from Line a and enter the result in Line 24. Do not enter an amount less than zero.
                                                                               a.   IRS Transportation Standards, Ownership Costs, Second Car              $
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                                                                                    Average Monthly Payment for any debts secured by Vehicle 2, as
                                                                               b.   stated in Line 42                                                      $
                                                                               c.   Net ownership/lease expense for Vehicle 2                              Subtract Line b from Line a        $
                                                                             Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
                                                                       25    federal, state, and local taxes, other than real estate and sales taxes, such as income taxes, self employment
                                                                             taxes, social security taxes, and Medicare taxes. Do not include real estate or sales taxes.                     $
                                                                             Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
                                                                       26    payroll deductions that are required for your employment, such as retirement contributions, union dues,
                                                                             and uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.                 $
                                                                             Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay
                                                                       27    for term life insurance for yourself. Do not include premiums for insurance on your dependents, for
                                                                             whole life or for any other form of insurance.                                                                   $
                                                                             Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
                                                                       28    required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
                                                                             payments. Do not include payments on past due obligations included in Line 44.                                   $
                                                                             Other Necessary Expenses: education for employment or for a physically or mentally challenged
                                                                             child. Enter the total average monthly amount that you actually expend for education that is a condition of
                                                                       29
                                                                             employment and for education that is required for a physically or mentally challenged dependent child for
                                                                             whom no public education providing similar services is available.                                                $
                                                                             Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend
                                                                       30    on childcare — such as baby-sitting, day care, nursery and preschool. Do not include other educational
                                                                             payments.                                                                                                        $
                                                                             Other Necessary Expenses: health care. Enter the total average monthly amount that you actually
                                                                             expend on health care that is required for the health and welfare of yourself or your dependents, that is not
                                                                       31
                                                                             reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered in
                                                                             Line 19B. Do not include payments for health insurance or health savings accounts listed in Line 34.             $
                                                                             Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that
                                                                             you actually pay for telecommunication services other than your basic home telephone and cell phone
                                                                       32    service — such as pagers, call waiting, caller id, special long distance, or internet service — to the extent
                                                                             necessary for your health and welfare or that of your dependents. Do not include any amount previously
                                                                             deducted.                                                                                                        $
                                                                       33    Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                              $
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                                                                     B22A (Official Form 22A) (Chapter 7) (12/08)
                                                                                                              Subpart B: Additional Living Expense Deductions
                                                                                                     Note: Do not include any expenses that you have listed in Lines 19-32

                                                                             Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
                                                                             expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your
                                                                             spouse, or your dependents.
                                                                                 a.   Health Insurance                                          $
                                                                                 b.   Disability Insurance                                      $
                                                                       34
                                                                                 c.   Health Savings Account                                    $
                                                                             Total and enter on Line 34                                                                                  $
                                                                             If you do not actually expend this total amount, state your actual total average monthly expenditures in
                                                                             the space below:

                                                                             $
                                                                             Continued contributions to the care of household or family members. Enter the total average actual
                                                                             monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
                                                                       35
                                                                             elderly, chronically ill, or disabled member of your household or member of your immediate family who is
                                                                             unable to pay for such expenses.                                                                            $
                                                                             Protection against family violence. Enter the total average reasonably necessary monthly expenses that
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                                                                             you actually incurred to maintain the safety of your family under the Family Violence Prevention and
                                                                       36
                                                                             Services Act or other applicable federal law. The nature of these expenses is required to be kept
                                                                             confidential by the court.                                                                                  $
                                                                             Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
                                                                             Local Standards for Housing and Utilities, that you actually expend for home energy costs. You must
                                                                       37
                                                                             provide your case trustee with documentation of your actual expenses, and you must demonstrate
                                                                             that the additional amount claimed is reasonable and necessary.                                             $
                                                                             Education expenses for dependent children less than 18. Enter the total average monthly expenses that
                                                                             you actually incur, not to exceed $137.50 per child, for attendance at a private or public elementary or
                                                                       38    secondary school by your dependent children less than 18 years of age. You must provide your case
                                                                             trustee with documentation of your actual expenses, and you must explain why the amount claimed
                                                                             is reasonable and necessary and not already accounted for in the IRS Standards.                             $
                                                                             Additional food and clothing expense. Enter the total average monthly amount by which your food and
                                                                             clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
                                                                       39    National Standards, not to exceed 5% of those combined allowances. (This information is available at
                                                                             www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the
                                                                             additional amount claimed is reasonable and necessary.                                                      $
                                                                             Continued charitable contributions. Enter the amount that you will continue to contribute in the form of
                                                                       40
                                                                             cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).         $

                                                                       41    Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40
                                                                                                                                                                                         $
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                                                                     B22A (Official Form 22A) (Chapter 7) (12/08)
                                                                                                                   Subpart C: Deductions for Debt Payment

                                                                             Future payments on secured claims. For each of your debts that is secured by an interest in property that
                                                                             you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
                                                                             Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is
                                                                             the total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months
                                                                             following the filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate
                                                                             page. Enter the total of the Average Monthly Payments on Line 42.
                                                                                                                                                             Average        Does payment
                                                                       42                                                                                    Monthly      include taxes or
                                                                                   Name of Creditor                  Property Securing the Debt              Payment           insurance?
                                                                              a.                                                                         $                      yes   no
                                                                              b.                                                                         $                      yes   no
                                                                              c.                                                                         $                      yes   no
                                                                                                                                          Total: Add lines a, b and c.
                                                                                                                                                                                               $
                                                                             Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary
                                                                             residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
                                                                             you may include in your deduction 1/60th of any amount (the “cure amount”) that you must pay the
                                                                             creditor in addition to the payments listed in Line 42, in order to maintain possession of the property. The
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                                                                             cure amount would include any sums in default that must be paid in order to avoid repossession or
                                                                             foreclosure. List and total any such amounts in the following chart. If necessary, list additional entries on a
                                                                             separate page.
                                                                       43                                                                                                    1/60th of the
                                                                                   Name of Creditor                            Property Securing the Debt                    Cure Amount
                                                                              a.                                                                                            $
                                                                              b.                                                                                            $
                                                                              c.                                                                                            $
                                                                                                                                                              Total: Add lines a, b and c.
                                                                                                                                                                                               $
                                                                             Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims,
                                                                       44    such as priority tax, child support and alimony claims, for which you were liable at the time of your
                                                                             bankruptcy filing. Do not include current obligations, such as those set out in Line 28.                          $
                                                                             Chapter 13 administrative expenses. If you are eligible to file a case under chapter 13, complete the
                                                                             following chart, multiply the amount in line a by the amount in line b, and enter the resulting
                                                                             administrative expense.
                                                                              a.   Projected average monthly chapter 13 plan payment.                $
                                                                              b.   Current multiplier for your district as determined under
                                                                       45          schedules issued by the Executive Office for United States
                                                                                   Trustees. (This information is available at
                                                                                   www.usdoj.gov/ust/ or from the clerk of the bankruptcy
                                                                                   court.)                                                           X
                                                                              c.   Average monthly administrative expense of chapter 13              Total: Multiply Lines a
                                                                                   case                                                              and b
                                                                                                                                                                                               $
                                                                       46    Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                        $

                                                                                                                  Subpart D: Total Deductions from Income

                                                                       47    Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                       $
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                                                                     B22A (Official Form 22A) (Chapter 7) (12/08)
                                                                                                     Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
                                                                       48    Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                  $
                                                                       49    Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                       $
                                                                       50    Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.                        $
                                                                             60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and
                                                                       51
                                                                             enter the result.                                                                                                       $
                                                                             Initial presumption determination. Check the applicable box and proceed as directed.
                                                                                   The amount on Line 51 is less than $6,575. Check the box for “The presumption does not arise” at the top of page 1 of
                                                                                   this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
                                                                       52          The amount set forth on Line 51 is more than $10,950. Check the box for “The presumption arises” at the top of page
                                                                                   1 of this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the
                                                                                   remainder of Part VI.
                                                                                   The amount on Line 51 is at least $6,575, but not more than $10,950. Complete the remainder of Part VI (Lines 53
                                                                                   though 55).
                                                                       53    Enter the amount of your total non-priority unsecured debt                                                              $
                                                                             Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the
                                                                       54
                                                                             result.                                                                                                                 $
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                                                                             Secondary presumption determination. Check the applicable box and proceed as directed.
                                                                                   The amount on Line 51 is less than the amount on Line 54. Check the box for “The presumption does not arise” at
                                                                                   the top of page 1 of this statement, and complete the verification in Part VIII.
                                                                       55
                                                                                   The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for “The presumption
                                                                                   arises” at the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part
                                                                                   VII.

                                                                                                              Part VII. ADDITIONAL EXPENSE CLAIMS
                                                                             Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
                                                                             and welfare of you and your family and that you contend should be an additional deduction from your current monthly
                                                                             income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your
                                                                             average monthly expense for each item. Total the expenses.
                                                                                     Expense Description                                                                                    Monthly Amount
                                                                       56
                                                                              a.                                                                                                        $
                                                                              b.                                                                                                        $
                                                                              c.                                                                                                        $
                                                                                                                                                 Total: Add Lines a, b and c            $

                                                                                                                         Part VIII. VERIFICATION
                                                                             I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
                                                                             both debtors must sign.)

                                                                       57    Date: June 16, 2009                  Signature: /s/ Raymond Paul Buck, Jr.
                                                                                                                                                                     (Debtor)


                                                                             Date: June 16, 2009                  Signature: /s/ Tina Marie Buck
                                                                                                                                                               (Joint Debtor, if any)
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                                                                                                                          United States Bankruptcy Court
                                                                                                                               District of New Jersey

                                                                     IN RE:                                                                                        Case No.
                                                                     Buck, Raymond Paul Jr. & Buck, Tina Marie                                                     Chapter 7
                                                                                                                   Debtor(s)

                                                                                                    CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                     PART A – Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by property of the
                                                                     estate. Attach additional pages if necessary.)
                                                                      Property No. 1
                                                                      Creditor’s Name:                                                        Describe Property Securing Debt:
                                                                      GMAC Mortgage                                                           Single-family residence located at 248 Long Branch Avenue, Bayvi
                                                                      Property will be (check one):
                                                                          Surrendered        ü
                                                                                            Retained
                                                                      If retaining the property, I intend to (check at least one):
                                                                            Redeem the property
                                                                            Reaffirm the debt
                                                                         ü  Other. Explain Retain and pay pursuant to contract                            (for example, avoid lien using 11 U.S.C. § 522(f)).
                                                                      Property is (check one):
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                                                                          Claimed as exempt           üNot claimed as exempt
                                                                      Property No. 2 (if necessary)
                                                                      Creditor’s Name:                                                        Describe Property Securing Debt:
                                                                      GMAC Mortgage                                                           Single-family residence located at 248 Long Branch Avenue, Bayvi
                                                                      Property will be (check one):
                                                                          Surrendered        ü
                                                                                            Retained
                                                                      If retaining the property, I intend to (check at least one):
                                                                            Redeem the property
                                                                            Reaffirm the debt
                                                                         ü  Other. Explain Retain and pay pursuant to contract                            (for example, avoid lien using 11 U.S.C. § 522(f)).
                                                                      Property is (check one):
                                                                          Claimed as exempt           üNot claimed as exempt
                                                                     PART B – Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease. Attach
                                                                     additional pages if necessary.)
                                                                      Property No. 1
                                                                      Lessor’s Name:                                       Describe Leased Property:                   Lease will be assumed pursuant to
                                                                                                                                                                       11 U.S.C. § 365(p)(2):
                                                                                                                                                                          Yes     No

                                                                      Property No. 2 (if necessary)
                                                                      Lessor’s Name:                                       Describe Leased Property:                   Lease will be assumed pursuant to
                                                                                                                                                                       11 U.S.C. § 365(p)(2):
                                                                                                                                                                          Yes     No
                                                                           continuation sheets attached (if any)
                                                                     I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
                                                                     personal property subject to an unexpired lease.

                                                                     Date:           June 16, 2009                      /s/ Raymond Paul Buck, Jr.
                                                                                                                        Signature of Debtor
                                                                                                                        /s/ Tina Marie Buck
                                                                                                                        Signature of Joint Debtor
                                                                                    Case 09-25588-MBK                                         Doc 1              Filed 06/16/09 Entered 06/16/09 17:36:11                                                                            Desc Main
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                                                                                                                                                             United States Bankruptcy Court
                                                                                                                                                                  District of New Jersey

                                                                     IN RE:                                                                                                                                                                     Case No.
                                                                     Buck, Raymond Paul Jr. & Buck, Tina Marie                                                                                                                                  Chapter 7
                                                                                                                                                  Debtor(s)

                                                                                                                  DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                                                     1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s) and that compensation paid to me within
                                                                            one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation
                                                                            of or in connection with the bankruptcy case is as follows:

                                                                            For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $               1,850.00
                                                                            Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                   1,850.00
                                                                            Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $       0.00
                                                                     2.     The source of the compensation paid to me was:                            üDebtor                 Other (specify):

                                                                     3.     The source of compensation to be paid to me is:                                Debtor             Other (specify):

                                                                     4.     ü I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
                                                                                   I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy of the agreement,
                                                                                   together with a list of the names of the people sharing in the compensation, is attached.
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                                                                     5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

                                                                            a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                            b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
                                                                            c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
                                                                            d.     Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
                                                                            e.     [Other provisions as needed]
                                                                            The Debtor has paid a base fee of $1,850.00, plus an additional $15.00 per creditor, collection agent and/or attorney for
                                                                            each such creditor, collection agent and/or attorney in excess of fifteen (15) creditors and up to forty-nine (49) creditors,
                                                                            and an additional $10.00 per creditor, collection agent and/or attorney in excess of fifty (50) creditors.




                                                                     6.     By agreement with the debtor(s), the above disclosed fee does not include the following services:
                                                                            The Debtor has also agreed that if any other services should become necessary and the Debtor elects to employ the same
                                                                            counsel, such services shall be the subject of additional charges that will be computed on the basis of $325.00 per hour
                                                                            plus expenses. The Debtor has been advised that examples of the type or kind of services that would be subject to
                                                                            additional charges include these listed below, and has also been advised that such examples are merely illustrative and
                                                                            do not constitute a complete list of services that would be the subject of additional fees: defending requests for relief
                                                                            from stay; defending nondischargeability actions; negotiating reaffirmation agreements and appearing at related court
                                                                            hearings; preparing or defending motions to dismiss the case.




                                                                                                                                                                                    CERTIFICATION
                                                                          I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this bankruptcy
                                                                          proceeding.


                                                                                                     June 16, 2009                                                  /s/ Lee D. Gottesman
                                                                                                               Date                                                 Lee D. Gottesman LG8582
                                                                                                                                                                    Law Offices of Lee D. Gottesman
                                                                                                                                                                    509 Main Street, P.O. Box 1508
                                                                                                                                                                    Toms River, NJ 08754-1508
                                                                                                                                                                    (732) 914-1055 Fax: (732) 914-1223
                                                                                                                                                                    lee@ldg-law.com
                                                                            Case
                                                                     B6 Summary (Form09-25588-MBK
                                                                                      6 - Summary) (12/07)             Doc 1        Filed 06/16/09 Entered 06/16/09 17:36:11                                       Desc Main
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                                                                                                                                  United States Bankruptcy Court
                                                                                                                                       District of New Jersey

                                                                     IN RE:                                                                                                                Case No.
                                                                     Buck, Raymond Paul Jr. & Buck, Tina Marie                                                                             Chapter 7
                                                                                                                          Debtor(s)

                                                                                                                                   SUMMARY OF SCHEDULES
                                                                     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                     provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
                                                                     determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file
                                                                     a case under chapter 7, 11, or 13.

                                                                                                                                 ATTACHED           NUMBER OF
                                                                      NAME OF SCHEDULE
                                                                                                                                  (YES/NO)            SHEETS                 ASSETS                LIABILITIES                 OTHER


                                                                      A - Real Property                                               Yes                          2 $         265,000.00


                                                                      B - Personal Property                                           Yes                          3 $           10,791.59


                                                                      C - Property Claimed as Exempt                                  Yes                          1
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                                                                      D - Creditors Holding Secured Claims                            Yes                          2                           $        262,186.18


                                                                      E - Creditors Holding Unsecured Priority
                                                                                                                                      Yes                          1                           $                 0.00
                                                                          Claims (Total of Claims on Schedule E)

                                                                      F - Creditors Holding Unsecured
                                                                                                                                      Yes                        11                            $          40,038.64
                                                                          Nonpriority Claims

                                                                      G - Executory Contracts and Unexpired
                                                                                                                                      Yes                          1
                                                                          Leases


                                                                      H - Codebtors                                                   Yes                          1


                                                                      I - Current Income of Individual
                                                                                                                                      Yes                          2                                                     $           2,773.34
                                                                          Debtor(s)

                                                                      J - Current Expenditures of Individual
                                                                                                                                      Yes                          1                                                     $           3,810.14
                                                                          Debtor(s)


                                                                                                                                      TOTAL                      25 $          275,791.59 $             302,224.82
                                                                               Case 09-25588-MBK
                                                                     Form 6 - Statistical Summary (12/07)   Doc 1      Filed 06/16/09 Entered 06/16/09 17:36:11                   Desc Main
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                                                                                                                     United States Bankruptcy Court
                                                                                                                          District of New Jersey

                                                                     IN RE:                                                                                       Case No.
                                                                     Buck, Raymond Paul Jr. & Buck, Tina Marie                                                    Chapter 7
                                                                                                              Debtor(s)

                                                                            STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
                                                                     If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. §
                                                                     101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                        Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                     information here.

                                                                     This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                     Summarize the following types of liabilities, as reported in the Schedules, and total them.

                                                                      Type of Liability                                                                                       Amount

                                                                      Domestic Support Obligations (from Schedule E)                                                    $         0.00

                                                                      Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                        $
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                                                                                                                                                                                  0.00

                                                                      Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
                                                                      disputed or undisputed)                                                                           $         0.00

                                                                      Student Loan Obligations (from Schedule F)                                                        $         0.00

                                                                      Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on
                                                                      Schedule E                                                                                        $         0.00

                                                                      Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)         $         0.00

                                                                                                                                                           TOTAL        $         0.00


                                                                      State the following:

                                                                      Average Income (from Schedule I, Line 16)                                                         $     2,773.34

                                                                      Average Expenses (from Schedule J, Line 18)                                                       $     3,810.14

                                                                      Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C
                                                                      Line 20 )                                                                                         $     4,341.77


                                                                      State the following:

                                                                      1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column                                                       $          0.00

                                                                      2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY” column.                                   $         0.00

                                                                      3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY, IF ANY” column                                         $          0.00

                                                                      4. Total from Schedule F                                                                                           $    40,038.64

                                                                      5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                       $    40,038.64
                                                                              Case
                                                                     B6A (Official Form09-25588-MBK
                                                                                       6A) (12/07)                      Doc 1        Filed 06/16/09 Entered 06/16/09 17:36:11                                                          Desc Main
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                                                                     IN RE Buck, Raymond Paul Jr. & Buck, Tina Marie                                                                         Case No.
                                                                                                                                Debtor(s)                                                                                                    (If known)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                     married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
                                                                     or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.




                                                                                                                                                                                             HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                                       CURRENT VALUE OF
                                                                                                                                                                                                                      DEBTOR'S INTEREST IN
                                                                                                                                                                   NATURE OF DEBTOR'S                                  PROPERTY WITHOUT        AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY                                   DEDUCTING ANY              CLAIM
                                                                                                                                                                                                                       SECURED CLAIM OR
                                                                                                                                                                                                                           EXEMPTION



                                                                     Single-family residence located at 248 Long Branch Avenue,                                Fee Simple                         J                          265,000.00               262,186.18
                                                                     Bayville NJ
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                                                                                                                                                                                      TOTAL                                  265,000.00
                                                                                                                                                                                                                     (Report also on Summary of Schedules)
                                                                                Case 09-25588-MBK                       Doc 1        Filed 06/16/09 Entered 06/16/09 17:36:11       Desc Main
                                                                                                                                    Document      Page 24 of 61
                                                                     IN RE Buck, Raymond Paul Jr. & Buck, Tina Marie                                                     Case No.
                                                                                                                                Debtor(s)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                                                                                      Continuation Sheet - Page 1 of 1
                                                                     LIQUIDATION ANALYSIS
                                                                     Single-family residence..................................................265,000.00
                                                                     Less: Costs of sale (8%)................................................(21,200.00)
                                                                     Less: Chapter 7 Trustee fees........................................(16,500.00)
                                                                     Less: First mortgage....................................................(189,992.63)
                                                                     Less: Second mortgage................................................(72,193.55)
                                                                     Gross equity...........................................................................-0-
                                                                     Less: Debtors' available exemption...............................(40,400.00)
                                                                     Net equity available for unsecured creditors..........................-0-

                                                                     Debtors' entire "wild-card" exemption is available under 11 U.S.C. 522(d)(5)
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                                                                              Case
                                                                     B6B (Official Form09-25588-MBK
                                                                                       6B) (12/07)                      Doc 1        Filed 06/16/09 Entered 06/16/09 17:36:11                                        Desc Main
                                                                                                                                    Document      Page 25 of 61
                                                                     IN RE Buck, Raymond Paul Jr. & Buck, Tina Marie                                                                        Case No.
                                                                                                                                Debtor(s)                                                                                             (If known)

                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                     appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or
                                                                     “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
                                                                     in Schedule C - Property Claimed as Exempt.

                                                                       Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                       If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property is being
                                                                     held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                     HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                                        OR COMMUNITY
                                                                                                                                                                                                                                              CURRENT VALUE OF
                                                                                                                       N                                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                       O                                                                                                                      PROPERTY WITHOUT
                                                                                    TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                                                        DEDUCTING ANY
                                                                                                                       E                                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                                                  EXEMPTION




                                                                        1. Cash on hand.                                   Cash                                                                                          J                                20.00
                                                                        2. Checking, savings or other financial            Sovereign Bank checking account no. xxxxx7955                                                 J                                 0.89
                                                                           accounts, certificates of deposit or            TD Bank checking account no. xxxxxx2668                                                       J                               295.78
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                                                                           shares in banks, savings and loan,
                                                                           thrift, building and loan, and
                                                                           homestead associations, or credit
                                                                           unions, brokerage houses, or
                                                                           cooperatives.
                                                                        3. Security deposits with public utilities,    X
                                                                           telephone companies, landlords, and
                                                                           others.
                                                                        4. Household goods and furnishings,                Household furnishings and appliances, consisting of the                                       J                             2,393.00
                                                                           include audio, video, and computer              following:
                                                                           equipment.
                                                                                                                           LIVING ROOM-- One (1) sectional sofa, one (1) coffee table, one
                                                                                                                           (1) lamp, one (1) picture, one (1) television, one (1) VCR/DVD
                                                                                                                           player and one (1) stereo;
                                                                                                                           DINING ROOM-- One (1) table, six (6) chairs, two (2) window
                                                                                                                           treatments, one (1) set of dinnerware and assorted glassware;

                                                                                                                           LAUNDRY ROOM-- One (1) washer, one (1) dryer and one (1)
                                                                                                                           iron;

                                                                                                                           KITCHEN-- One (1) microwave, one (1) refrigerator and one (1)
                                                                                                                           window treatment;

                                                                                                                           BEDROOMS-- Four (4) beds (including bunk beds), six (6)
                                                                                                                           dressers, four (4) lamps and three (3) mirrors;
                                                                                                                           HOME OFFICE-- One (1) computer, one (1) photocopier, one (1)
                                                                                                                           printer and one (1) telephone; and

                                                                                                                           MISCELLANEOUS-- Assorted childrens' toys, ten (10) bed
                                                                                                                           sheets, twelve (12) pillowcases, six (6) blankets, one (1)
                                                                                                                           tablecloth, eight (8) towels, four (4) lawn chairs, one (1) outdoor
                                                                                                                           table, one (1) barbecue, assorted hand tools, one (1) tool box,
                                                                                                                           one (1) lawn mower, one (1) wheelbarrow, two (2) garden hoses,
                                                                                                                           one (1) vacuum cleaner, assorted power tools and two (2) fans
                                                                        5. Books, pictures and other art objects,      X
                                                                           antiques, stamp, coin, record, tape,
                                                                           compact disc, and other collections or
                                                                           collectibles.
                                                                        6. Wearing apparel.                                Clothing                                                                                      J                             1,000.00
                                                                        7. Furs and jewelry.                               Two (2) rings                                                                                 J                               100.00
                                                                        8. Firearms and sports, photographic,              Four (4) bicycles and assorted fshing tackle                                                  J                               180.00
                                                                           and other hobby equipment.
                                                                              Case
                                                                     B6B (Official Form09-25588-MBK
                                                                                       6B) (12/07) - Cont.           Doc 1      Filed 06/16/09 Entered 06/16/09 17:36:11                   Desc Main
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                                                                     IN RE Buck, Raymond Paul Jr. & Buck, Tina Marie                                                            Case No.
                                                                                                                            Debtor(s)                                                                       (If known)

                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                (Continuation Sheet)




                                                                                                                                                                                           HUSBAND, WIFE, JOINT,
                                                                                                                                                                                              OR COMMUNITY
                                                                                                                                                                                                                    CURRENT VALUE OF
                                                                                                                     N                                                                                             DEBTOR'S INTEREST IN
                                                                                                                     O                                                                                              PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                      DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                     N                                                                                                DEDUCTING ANY
                                                                                                                     E                                                                                              SECURED CLAIM OR
                                                                                                                                                                                                                        EXEMPTION




                                                                       9. Interest in insurance policies. Name       X
                                                                          insurance company of each policy and
                                                                          itemize surrender or refund value of
                                                                          each.
                                                                      10. Annuities. Itemize and name each           X
                                                                          issue.
                                                                      11. Interests in an education IRA as           X
                                                                          defined in 26 U.S.C. § 530(b)(1) or
                                                                          under a qualified State tuition plan as
                                                                          defined in 26 U.S.C. § 529(b)(1).
                                                                          Give particulars. (File separately the
                                                                          record(s) of any such interest(s). 11
                                                                          U.S.C. § 521(c).)
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                                                                      12. Interests in IRA, ERISA, Keogh, or             401(k) plan through employer, excluded pursuant to IN RE             H                              1,221.92
                                                                          other pension or profit sharing plans.         YUHAS
                                                                          Give particulars.
                                                                      13. Stock and interests in incorporated        X
                                                                          and unincorporated businesses.
                                                                          Itemize.
                                                                      14. Interests in partnerships or joint         X
                                                                          ventures. Itemize.
                                                                      15. Government and corporate bonds and         X
                                                                          other negotiable and non-negotiable
                                                                          instruments.
                                                                      16. Accounts receivable.                       X
                                                                      17. Alimony, maintenance, support, and         X
                                                                          property settlements in which the
                                                                          debtor is or may be entitled. Give
                                                                          particulars.
                                                                      18. Other liquidated debts owed to debtor      X
                                                                          including tax refunds. Give
                                                                          particulars.
                                                                      19. Equitable or future interest, life         X
                                                                          estates, and rights or powers
                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
                                                                          Schedule A - Real Property.
                                                                      20. Contingent and noncontingent               X
                                                                          interests in estate of a decedent, death
                                                                          benefit plan, life insurance policy, or
                                                                          trust.
                                                                      21. Other contingent and unliquidated          X
                                                                          claims of every nature, including tax
                                                                          refunds, counterclaims of the debtor,
                                                                          and rights to setoff claims. Give
                                                                          estimated value of each.
                                                                      22. Patents, copyrights, and other             X
                                                                          intellectual property. Give particulars.
                                                                      23. Licenses, franchises, and other            X
                                                                          general intangibles. Give particulars.
                                                                              Case
                                                                     B6B (Official Form09-25588-MBK
                                                                                       6B) (12/07) - Cont.         Doc 1      Filed 06/16/09 Entered 06/16/09 17:36:11                            Desc Main
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                                                                     IN RE Buck, Raymond Paul Jr. & Buck, Tina Marie                                                          Case No.
                                                                                                                          Debtor(s)                                                                                 (If known)

                                                                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                                                              (Continuation Sheet)




                                                                                                                                                                                                   HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                      OR COMMUNITY
                                                                                                                                                                                                                            CURRENT VALUE OF
                                                                                                                   N                                                                                                       DEBTOR'S INTEREST IN
                                                                                                                   O                                                                                                        PROPERTY WITHOUT
                                                                                  TYPE OF PROPERTY                                     DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                   N                                                                                                          DEDUCTING ANY
                                                                                                                   E                                                                                                        SECURED CLAIM OR
                                                                                                                                                                                                                                EXEMPTION




                                                                      24. Customer lists or other compilations     X
                                                                          containing personally identifiable
                                                                          information (as defined in 11 U.S.C. §
                                                                          101(41A)) provided to the debtor by
                                                                          individuals in connection with
                                                                          obtaining a product or service from
                                                                          the debtor primarily for personal,
                                                                          family, or household purposes.
                                                                      25. Automobiles, trucks, trailers, and           1996 Nissan Quest XE minivan; 150,000 miles (Kelley Blue Book                  H                              1,975.00
                                                                          other vehicles and accessories.              private party retail value as of 6/15/2009)
                                                                                                                       1999 Plymouth Grand Voyager minivan; 97,000 miles (Kelley                      H                              2,225.00
                                                                                                                       Blue Book private party retail value as of 6/15/2009)
                                                                                                                   X
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                                                                      26. Boats, motors, and accessories.
                                                                      27. Aircraft and accessories.                X
                                                                      28. Office equipment, furnishings, and       X
                                                                          supplies.
                                                                      29. Machinery, fixtures, equipment, and          Disc jockey equipment, consisting of mixer, speakers,                          H                              1,380.00
                                                                          supplies used in business.                   microphones, CD player. CDs, computer and miscellaneous
                                                                                                                       items
                                                                      30. Inventory.                               X
                                                                      31. Animals.                                 X
                                                                      32. Crops - growing or harvested. Give       X
                                                                          particulars.
                                                                      33. Farming equipment and implements.        X
                                                                      34. Farm supplies, chemicals, and feed.      X
                                                                      35. Other personal property of any kind      X
                                                                          not already listed. Itemize.




                                                                                                                                                                                             TOTAL                                 10,791.59
                                                                                                                                                                        (Include amounts from any continuation sheets attached.
                                                                             0 continuation sheets attached                                                                        Report total also on Summary of Schedules.)
                                                                              Case
                                                                     B6C (Official Form09-25588-MBK
                                                                                       6C) (12/07)                     Doc 1        Filed 06/16/09 Entered 06/16/09 17:36:11                                 Desc Main
                                                                                                                                   Document      Page 28 of 61
                                                                     IN RE Buck, Raymond Paul Jr. & Buck, Tina Marie                                                                  Case No.
                                                                                                                               Debtor(s)                                                                         (If known)

                                                                                                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                     Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $136,875.
                                                                     (Check one box)

                                                                        ü11
                                                                         11 U.S.C. § 522(b)(2)
                                                                            U.S.C. § 522(b)(3)

                                                                                                                                                                                                                     CURRENT VALUE
                                                                                                                                                                                            VALUE OF CLAIMED          OF PROPERTY
                                                                                       DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                               EXEMPTION           WITHOUT DEDUCTING
                                                                                                                                                                                                                      EXEMPTIONS

                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                     Cash                                                         11 USC § 522(d)(5)                                                     20.00                     20.00
                                                                     Sovereign Bank checking account no.                          11 USC § 522(d)(5)                                                      0.89                      0.89
                                                                     xxxxx7955
                                                                     TD Bank checking account no. xxxxxx2668                      11 USC § 522(d)(5)                                                    295.78                     295.78
                                                                     Household furnishings and appliances,                        11 USC § 522(d)(3)                                                  2,393.00                   2,393.00
                                                                     consisting of the following:

                                                                     LIVING ROOM-- One (1) sectional sofa, one
                                                                     (1) coffee table, one (1) lamp, one (1)
                                                                     picture, one (1) television, one (1)
                                                                     VCR/DVD player and one (1) stereo;

                                                                     DINING ROOM-- One (1) table, six (6)
                                                                     chairs, two (2) window treatments, one (1)
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                                                                     set of dinnerware and assorted glassware;

                                                                     LAUNDRY ROOM-- One (1) washer, one (1)
                                                                     dryer and one (1) iron;

                                                                     KITCHEN-- One (1) microwave, one (1)
                                                                     refrigerator and one (1) window treatment;
                                                                     BEDROOMS-- Four (4) beds (including
                                                                     bunk beds), six (6) dressers, four (4) lamps
                                                                     and three (3) mirrors;
                                                                     HOME OFFICE-- One (1) computer, one (1)
                                                                     photocopier, one (1) printer and one (1)
                                                                     telephone; and
                                                                     MISCELLANEOUS-- Assorted childrens'
                                                                     toys, ten (10) bed sheets, twelve (12)
                                                                     pillowcases, six (6) blankets, one (1)
                                                                     tablecloth, eight (8) towels, four (4) lawn
                                                                     chairs, one (1) outdoor table, one (1)
                                                                     barbecue, assorted hand tools, one (1) tool
                                                                     box, one (1) lawn mower, one (1)
                                                                     wheelbarrow, two (2) garden hoses, one (1)
                                                                     vacuum cleaner, assorted power tools and
                                                                     two (2) fans
                                                                     Clothing                                                     11 USC § 522(d)(3)                                                  1,000.00                   1,000.00
                                                                     Two (2) rings                                                11 USC § 522(d)(4)                                                    100.00                     100.00
                                                                     Four (4) bicycles and assorted fshing                        11 USC § 522(d)(5)                                                    180.00                     180.00
                                                                     tackle
                                                                     401(k) plan through employer, excluded                       11 USC § 522(d)(12)                                                 1,221.92                   1,221.92
                                                                     pursuant to IN RE YUHAS
                                                                     1996 Nissan Quest XE minivan; 150,000                        11 USC § 522(d)(2)                                                  1,975.00                   1,975.00
                                                                     miles (Kelley Blue Book private party retail
                                                                     value as of 6/15/2009)
                                                                     1999 Plymouth Grand Voyager minivan;                         11 USC § 522(d)(2)                                                  2,225.00                   2,225.00
                                                                     97,000 miles (Kelley Blue Book private
                                                                     party retail value as of 6/15/2009)
                                                                     Disc jockey equipment, consisting of                         11 USC § 522(d)(6)                                                  1,380.00                   1,380.00
                                                                     mixer, speakers, microphones, CD player.
                                                                     CDs, computer and miscellaneous items
                                                                              Case
                                                                     B6D (Official Form09-25588-MBK
                                                                                       6D) (12/07)                       Doc 1                   Filed 06/16/09 Entered 06/16/09 17:36:11                                                                               Desc Main
                                                                                                                                                Document      Page 29 of 61
                                                                     IN RE Buck, Raymond Paul Jr. & Buck, Tina Marie                                                                                            Case No.
                                                                                                                                 Debtor(s)                                                                                                                                      (If known)

                                                                                                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
                                                                     date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                     the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                     security interests.
                                                                       List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors
                                                                     will not fit on this page, use the continuation sheet provided.
                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet
                                                                     of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and,
                                                                     if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
                                                                     Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                           HUSBAND, WIFE, JOINT,
                                                                                                                                              OR COMMUNITY




                                                                                                                                                                                                                                    UNLIQUIDATED
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                                                                                                                                                                                                                       CONTINGENT
                                                                                                                                CODEBTOR




                                                                                                                                                                                                                                                                 AMOUNT OF




                                                                                                                                                                                                                                                   DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                              DATE CLAIM WAS INCURRED,                                                        CLAIM WITHOUT
                                                                                                                                                                                                                                                                                         UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                    NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                               DEDUCTING
                                                                                                                                                                                                                                                                                       PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                                PROPERTY SUBJECT TO LIEN                                                          VALUE OF
                                                                                                                                                                                                                                                                COLLATERAL




                                                                     ACCOUNT NO. 2955                                                           J Mortgage account opened 4/05                                                                                    189,992.63
                                                                     GMAC Mortgage                                                                                 First mortgage securd against
                                                                     PO Box 4622                                                                                   single-family residence located at 248
                                                                     Waterloo, IA 50704-4622                                                                       Long Branch Avenue, Bayville NJ

                                                                                                                                                                   VALUE $ 265,000.00

                                                                     ACCOUNT NO.                                                                                   Assignee or other notification for:
                                                                                                                                                                   GMAC Mortgage
                                                                     Central Mortgage Company
                                                                     Attention: Bankruptcy Department
                                                                     1100 Virginia Drive
                                                                     Fort Washington, PA 19034
                                                                                                                                                                   VALUE $

                                                                     ACCOUNT NO. 0192                                                           J Mortgage account opened 6/07                                                                                      72,193.55
                                                                     GMAC Mortgage                                                                                 Second mortgage secured against
                                                                     PO Box 205                                                                                    single-family residence located at 248
                                                                     Waterloo, IA 50704-0205                                                                       Long Branch Avenue, Bayville NJ

                                                                                                                                                                   VALUE $ 265,000.00

                                                                     ACCOUNT NO.                                                                                   Assignee or other notification for:
                                                                                                                                                                   GMAC Mortgage
                                                                     Central Mortgage Company
                                                                     Attention: Bankruptcy Department
                                                                     1100 Virginia Drive
                                                                     Fort Washington, PA 19034
                                                                                                                                                                   VALUE $
                                                                                                                                                                                                                       Subtotal
                                                                            1 continuation sheets attached                                                                                                 (Total of this page) $ 262,186.18 $
                                                                                                                                                                                                                          Total
                                                                                                                                                                                                        (Use only on last page) $                                                     $
                                                                                                                                                                                                                                                              (Report also on         (If applicable, report
                                                                                                                                                                                                                                                              Summary of              also on Statistical
                                                                                                                                                                                                                                                              Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                      Liabilities and Related
                                                                                                                                                                                                                                                                                      Data.)
                                                                              Case
                                                                     B6D (Official Form09-25588-MBK
                                                                                       6D) (12/07) - Cont.            Doc 1                    Filed 06/16/09 Entered 06/16/09 17:36:11                                                                              Desc Main
                                                                                                                                              Document      Page 30 of 61
                                                                     IN RE Buck, Raymond Paul Jr. & Buck, Tina Marie                                                                                          Case No.
                                                                                                                               Debtor(s)                                                                                                                                     (If known)

                                                                                                         SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                         (Continuation Sheet)




                                                                                                                                         HUSBAND, WIFE, JOINT,
                                                                                                                                            OR COMMUNITY




                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                                                                                                                              AMOUNT OF




                                                                                                                              CODEBTOR




                                                                                                                                                                                                                                                DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                            DATE CLAIM WAS INCURRED,                                                       CLAIM WITHOUT
                                                                                                                                                                                                                                                                                      UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                  NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                              DEDUCTING
                                                                                                                                                                                                                                                                                    PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                              PROPERTY SUBJECT TO LIEN                                                         VALUE OF
                                                                                                                                                                                                                                                             COLLATERAL




                                                                     ACCOUNT NO.                                                                                 Assignee or other notification for:
                                                                                                                                                                 GMAC Mortgage
                                                                     GMAC Mortgage
                                                                     PO Box 4622
                                                                     Waterloo, IA 50704-4622

                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.
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                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                 VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                 VALUE $
                                                                     Sheet no.       1 of        1 continuation sheets attached to                                                                                   Subtotal
                                                                     Schedule of Creditors Holding Secured Claims                                                                                        (Total of this page) $                                                    $
                                                                                                                                                                                                                        Total
                                                                                                                                                                                                      (Use only on last page) $ 262,186.18 $
                                                                                                                                                                                                                                                           (Report also on         (If applicable, report
                                                                                                                                                                                                                                                           Summary of              also on Statistical
                                                                                                                                                                                                                                                           Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                   Liabilities and Related
                                                                                                                                                                                                                                                                                   Data.)
                                                                              Case
                                                                     B6E (Official Form09-25588-MBK
                                                                                       6E) (12/07)                       Doc 1         Filed 06/16/09 Entered 06/16/09 17:36:11                                          Desc Main
                                                                                                                                      Document      Page 31 of 61
                                                                     IN RE Buck, Raymond Paul Jr. & Buck, Tina Marie                                                                           Case No.
                                                                                                                                 Debtor(s)                                                                                   (If known)

                                                                                                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
                                                                     priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
                                                                     number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation
                                                                     sheet for each type of priority and label each with the type of priority.

                                                                        The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                                                                     If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled
                                                                     "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You
                                                                     may need to place an "X" in more than one of these three columns.)

                                                                       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                                                                     on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                       Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority listed
                                                                     on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on the
                                                                     Statistical Summary of Certain Liabilities and Related Data.

                                                                        Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all amounts not entitled to priority
                                                                     listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on
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                                                                     the Statistical Summary of Certain Liabilities and Related Data.

                                                                     üCheck this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.
                                                                     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
                                                                          Domestic Support Obligations
                                                                          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
                                                                          responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
                                                                          U.S.C. § 507(a)(1).
                                                                          Extensions of credit in an involuntary case
                                                                          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
                                                                          Wages, salaries, and commissions
                                                                          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                          independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
                                                                          Contributions to employee benefit plans
                                                                          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
                                                                          Certain farmers and fishermen
                                                                          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
                                                                          Deposits by individuals
                                                                          Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
                                                                          were not delivered or provided. 11 U.S.C. § 507(a)(7).
                                                                          Taxes and Certain Other Debts Owed to Governmental Units
                                                                          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
                                                                          Commitments to Maintain the Capital of an Insured Depository Institution
                                                                          Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
                                                                          of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).
                                                                          Claims for Death or Personal Injury While Debtor Was Intoxicated
                                                                          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
                                                                          a drug, or another substance. 11 U.S.C. § 507(a)(10).

                                                                          * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                            0 continuation sheets attached
                                                                               Case
                                                                     B6F (Official Form 09-25588-MBK
                                                                                        6F) (12/07)                      Doc 1        Filed 06/16/09 Entered 06/16/09 17:36:11                                                           Desc Main
                                                                                                                                     Document      Page 32 of 61
                                                                     IN RE Buck, Raymond Paul Jr. & Buck, Tina Marie                                                                                              Case No.
                                                                                                                                 Debtor(s)                                                                                                              (If known)

                                                                                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
                                                                     or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                     the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims
                                                                     listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                       Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                  HUSBAND, WIFE, JOINT,
                                                                                                                                                     OR COMMUNITY




                                                                                                                                                                                                                                                        UNLIQUIDATED
                                                                                                                                                                                                                                           CONTINGENT
                                                                                                                                       CODEBTOR




                                                                                                                                                                                                                                                                       DISPUTED
                                                                                   CREDITOR'S NAME, MAILING ADDRESS                                                                     DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                               INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                          (See Instructions Above.)                                                                       SUBJECT TO SETOFF, SO STATE                                                              CLAIM
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                                                                     ACCOUNT NO. 7882                                                                  J Revolving account opened 7/06                                                                                 X
                                                                     Barclays Bank Delaware                                                                               Goods and services rendered
                                                                     Attention: Customer Service Department
                                                                     PO Box 8802
                                                                     Wilmington, DE 19899
                                                                                                                                                                                                                                                                                   1,064.49
                                                                     ACCOUNT NO.                                                                                          Assignee or other notification for:
                                                                                                                                                                          Barclays Bank Delaware
                                                                     Barclays Bank Delaware
                                                                     Attention: Customer Service Department
                                                                     PO Box 8801
                                                                     Wilmington, DE 19899


                                                                     ACCOUNT NO.                                                                                          Assignee or other notification for:
                                                                                                                                                                          Barclays Bank Delaware
                                                                     Barclays Bank Delaware
                                                                     Attention: Customer Service Department
                                                                     PO Box 8833
                                                                     Wilmington, DE 19899


                                                                     ACCOUNT NO.                                                                                          Assignee or other notification for:
                                                                                                                                                                          Barclays Bank Delaware
                                                                     Barclays Bank Delaware
                                                                     125 South West Street
                                                                     Wilmington, DE 19801



                                                                                                                                                                                                                                           Subtotal
                                                                          10 continuation sheets attached                                                                                                                      (Total of this page) $                              1,064.49
                                                                                                                                                                                                                                              Total
                                                                                                                                                                                 (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                     the Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                                  Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official Form 09-25588-MBK
                                                                                        6F) (12/07) - Cont.           Doc 1          Filed 06/16/09 Entered 06/16/09 17:36:11                                                          Desc Main
                                                                                                                                    Document      Page 33 of 61
                                                                     IN RE Buck, Raymond Paul Jr. & Buck, Tina Marie                                                                                            Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 2603                                                             W Revolving account opened 7/06                                                                                    X
                                                                     Chase                                                                                              Goods and services rendered
                                                                     PO Box 15298
                                                                     Wilmington, DE 19850-5298

                                                                                                                                                                                                                                                                                 4,426.25
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Chase
                                                                     Chase
                                                                     PO Box 15299
                                                                     Wilmington, DE 19850-5298
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                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Chase
                                                                     Chase
                                                                     PO Box 15548
                                                                     Wilmington, DE 19886-5548



                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Chase
                                                                     Chase
                                                                     800 Brooksedge Boulevard
                                                                     Westerville, OH 43081



                                                                     ACCOUNT NO. 1090                                                             W Revolving account opened 5/07                                                                                    X
                                                                     Chase                                                                                              Goods and services rendered
                                                                     PO Box 15298
                                                                     Wilmington, DE 19850-5298

                                                                                                                                                                                                                                                                                 3,416.29
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Chase
                                                                     Chase
                                                                     PO Box 15299
                                                                     Wilmington, DE 19850-5298



                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Chase
                                                                     Chase
                                                                     800 Brooksedge Boulevard
                                                                     Westerville, OH 43081



                                                                     Sheet no.       1 of      10 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                              7,842.54
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official Form 09-25588-MBK
                                                                                        6F) (12/07) - Cont.           Doc 1          Filed 06/16/09 Entered 06/16/09 17:36:11                                                          Desc Main
                                                                                                                                    Document      Page 34 of 61
                                                                     IN RE Buck, Raymond Paul Jr. & Buck, Tina Marie                                                                                            Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 9149                                                              H Revolving account opened 7/07                                                                                   X
                                                                     Chase                                                                                              Goods and services rendered
                                                                     PO Box 15298
                                                                     Wilmington, DE 19850-5298

                                                                                                                                                                                                                                                                                 3,260.41
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Chase
                                                                     Chase
                                                                     PO Box 15299
                                                                     Wilmington, DE 19850-5298
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                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Chase
                                                                     Chase
                                                                     PO Box 15548
                                                                     Wilmington, DE 19886-5548



                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Chase
                                                                     Chase
                                                                     800 Brooksedge Boulevard
                                                                     Westerville, OH 43081



                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Chase
                                                                     Washington Mutual Bank
                                                                     Attention: Bankrutpcy Department
                                                                     PO Box 10467
                                                                     Greenville, SC 29603


                                                                     ACCOUNT NO. 8464                                                              H Revolving account opened 7/06                                                                                   X
                                                                     Chase                                                                                              Goods and services rendered
                                                                     PO Box 15298
                                                                     Wilmington, DE 19850-5298

                                                                                                                                                                                                                                                                                 2,349.17
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Chase
                                                                     Chase
                                                                     PO Box 15299
                                                                     Wilmington, DE 19850-5298



                                                                     Sheet no.       2 of      10 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                              5,609.58
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official Form 09-25588-MBK
                                                                                        6F) (12/07) - Cont.           Doc 1          Filed 06/16/09 Entered 06/16/09 17:36:11                                                          Desc Main
                                                                                                                                    Document      Page 35 of 61
                                                                     IN RE Buck, Raymond Paul Jr. & Buck, Tina Marie                                                                                            Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Chase
                                                                     Chase
                                                                     800 Brooksedge Boulevard
                                                                     Westerville, OH 43081



                                                                     ACCOUNT NO. 4064                                                              H Revolving account opened 7/06                                                                                   X
                                                                     Chase                                                                                              Goods and services rendered
                                                                     PO Box 15298
                                                                     Wilmington, DE 19850-5298
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                                                                                                                                                                                                                                                                                 2,447.46
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Chase
                                                                     Chase
                                                                     800 Brooksedge Boulevard
                                                                     Westerville, OH 43081



                                                                     ACCOUNT NO. 8774                                                                J Open account opened 2/09
                                                                     Community Medical Center                                                                           Medical services rendered
                                                                     PO Box 903
                                                                     Oceanport, NJ 07757

                                                                                                                                                                                                                                                                                    19.80
                                                                     ACCOUNT NO. 8668                                                                J Open account opened 2/09
                                                                     Community Medical Center                                                                           Medical services rendered
                                                                     PO Box 903
                                                                     Oceanport, NJ 07757

                                                                                                                                                                                                                                                                                    44.37
                                                                     ACCOUNT NO. 6798                                                              H Revolving account opened 1/08                                                                                   X
                                                                     Discover More Card                                                                                 Goods and services rendered
                                                                     PO Box 30943
                                                                     Salt Lake City, UT 84130

                                                                                                                                                                                                                                                                                 4,876.54
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Discover More Card
                                                                     Discover
                                                                     PO Box 15316
                                                                     Wilmington, DE 19850-5192



                                                                     Sheet no.       3 of      10 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                              7,388.17
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official Form 09-25588-MBK
                                                                                        6F) (12/07) - Cont.           Doc 1          Filed 06/16/09 Entered 06/16/09 17:36:11                                                          Desc Main
                                                                                                                                    Document      Page 36 of 61
                                                                     IN RE Buck, Raymond Paul Jr. & Buck, Tina Marie                                                                                            Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Discover More Card
                                                                     Discover Financial
                                                                     PO Box 3008
                                                                     New Albany, OH 43054-3008



                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Discover More Card
                                                                     Discover Financial
                                                                     Attention: Bankrutpcy Department
                                                                     PO Box 3025
                                                                     New Albany, OH 43054
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                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Discover More Card
                                                                     Discover More Card
                                                                     PO Box 30421
                                                                     Salt Lake City, UT 84130-0421



                                                                     ACCOUNT NO. 9638                                                             W Revolving account opened 12/05                                                                                   X
                                                                     Fashion Bug                                                                                        Goods and services rendered
                                                                     PO Box 84073
                                                                     Columbus, GA 31908-4073

                                                                                                                                                                                                                                                                                   527.81
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Fashion Bug
                                                                     Fashion Bug
                                                                     PO Box 856021
                                                                     Louisville, KY 40285-6021



                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Fashion Bug
                                                                     Fashion Bug
                                                                     PO Box 869
                                                                     Milford, OH 45150



                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Fashion Bug
                                                                     Fashion Bug
                                                                     PO Box 319
                                                                     Milford, OH 45150-0319



                                                                     Sheet no.       4 of      10 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                                527.81
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official Form 09-25588-MBK
                                                                                        6F) (12/07) - Cont.           Doc 1          Filed 06/16/09 Entered 06/16/09 17:36:11                                                          Desc Main
                                                                                                                                    Document      Page 37 of 61
                                                                     IN RE Buck, Raymond Paul Jr. & Buck, Tina Marie                                                                                            Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Fashion Bug
                                                                     Fashion Bug
                                                                     1103 Allen Drive
                                                                     Milford, OH 45150



                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Fashion Bug
                                                                     Fashion Bug
                                                                     Attention: Bankruptcy
                                                                     6356 Corley Road
                                                                     Norcross, GA 30091
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                                                                     ACCOUNT NO. 3388                                               X H Various                                                                                                                      X
                                                                     First Equity Card Corporation                                                                      Goods and services rendered
                                                                     PO Box 84075
                                                                     Columbus, GA 31901-4075

                                                                                                                                                                                                                                                                                 4,134.11
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        First Equity Card Corporation
                                                                     First Equity Card Corporation
                                                                     PO Box 23029
                                                                     Columbus, GA 31902-3029



                                                                     ACCOUNT NO. 8461                                                                J Revolving account opened 4/08                                                                                 X
                                                                     GE Money Bank                                                                                      Goods and services rendered
                                                                     PO Box 981439
                                                                     El Paso, TX 79998-1439

                                                                                                                                                                                                                                                                                   867.98
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        GE Money Bank
                                                                     GE Money Bank
                                                                     PO Box 981438
                                                                     El Paso, TX 79998-1438



                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        GE Money Bank
                                                                     GE Money Bank
                                                                     Attention: Bankruptcy
                                                                     PO Box 103106
                                                                     Roswell, GA 30076


                                                                     Sheet no.       5 of      10 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                              5,002.09
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official Form 09-25588-MBK
                                                                                        6F) (12/07) - Cont.           Doc 1          Filed 06/16/09 Entered 06/16/09 17:36:11                                                          Desc Main
                                                                                                                                    Document      Page 38 of 61
                                                                     IN RE Buck, Raymond Paul Jr. & Buck, Tina Marie                                                                                            Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 8602                                                              H Revolving account opened 4/08
                                                                     GE Money Bank                                                                                      Goods and services rendered
                                                                     PO Box 981439
                                                                     El Paso, TX 79998-1439

                                                                                                                                                                                                                                                                                 1,599.99
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        GE Money Bank
                                                                     GE Money Bank
                                                                     PO Box 981127
                                                                     El Paso, TX 79998-1127
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                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        GE Money Bank
                                                                     GE Money Bank
                                                                     PO Box 981438
                                                                     El Paso, TX 79998-1438



                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        GE Money Bank
                                                                     GE Money Bank
                                                                     Attention: Bankruptcy
                                                                     PO Box 103106
                                                                     Roswell, GA 30076


                                                                     ACCOUNT NO. 0561                                                              H Revolving account opened 11/08                                                                                  X
                                                                     Lowes                                                                                              Goods and services rendered
                                                                     PO Box 981064
                                                                     El Paso, TX 79998-1064

                                                                                                                                                                                                                                                                                 1,952.59
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Lowes
                                                                     GE Money Bank
                                                                     PO Box 981401
                                                                     El Paso, TX 79998-1401



                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Lowes
                                                                     GE Money Bank
                                                                     PO Box 981400
                                                                     El Paso, TX 79998-1400



                                                                     Sheet no.       6 of      10 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                              3,552.58
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official Form 09-25588-MBK
                                                                                        6F) (12/07) - Cont.           Doc 1          Filed 06/16/09 Entered 06/16/09 17:36:11                                                          Desc Main
                                                                                                                                    Document      Page 39 of 61
                                                                     IN RE Buck, Raymond Paul Jr. & Buck, Tina Marie                                                                                            Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Lowes
                                                                     GE Money Bank
                                                                     Attention: Bankruptcy
                                                                     PO Box 103104
                                                                     Roswell, GA 30076


                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Lowes
                                                                     GE Money Bank
                                                                     PO Box 103065
                                                                     Roswell, GA 30076
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                                                                     ACCOUNT NO. 1048                                                             W Revolving account opened 11/08
                                                                     Lowes                                                                                              Goods and services rendered
                                                                     PO Box 981064
                                                                     El Paso, TX 79998-1064

                                                                                                                                                                                                                                                                                   286.39
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Lowes
                                                                     GE Money Bank
                                                                     PO Box 981401
                                                                     El Paso, TX 79998-1401



                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Lowes
                                                                     GE Money Bank
                                                                     PO Box 981400
                                                                     El Paso, TX 79998-1400



                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Lowes
                                                                     GE Money Bank
                                                                     Attention: Bankruptcy
                                                                     PO Box 103104
                                                                     Roswell, GA 30076


                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Lowes
                                                                     GE Money Bank
                                                                     PO Box 103065
                                                                     Roswell, GA 30076



                                                                     Sheet no.       7 of      10 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                                286.39
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official Form 09-25588-MBK
                                                                                        6F) (12/07) - Cont.           Doc 1          Filed 06/16/09 Entered 06/16/09 17:36:11                                                          Desc Main
                                                                                                                                    Document      Page 40 of 61
                                                                     IN RE Buck, Raymond Paul Jr. & Buck, Tina Marie                                                                                            Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 5720                                                                J Open account opened 4/09
                                                                     Medical Radiology Group                                                                            Medical services rendered
                                                                     PO Box 1928
                                                                     Voorhees, NJ 08043

                                                                                                                                                                                                                                                                                    63.07
                                                                     ACCOUNT NO. 4405                                                                J Open account opened 4/09
                                                                     Medical Radiology Group                                                                            Medical services rendered
                                                                     PO Box 1928
                                                                     Voorhees, NJ 08043
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                                                                                                                                                                                                                                                                                    81.12
                                                                     ACCOUNT NO. 7036                                                              H Open account opened 5/08
                                                                     Monmouth Medical Center                                                                            Medical services rendered
                                                                     PO Box 903
                                                                     Oceanport, NJ 07757

                                                                                                                                                                                                                                                                                 1,508.44
                                                                     ACCOUNT NO. 7962                                                             W Revolving account opened 2/05                                                                                    X
                                                                     Target National Bank                                                                               Goods and services rendered
                                                                     C/O Target Credit Services
                                                                     PO Box 673
                                                                     Minneapolis, MN 55440-0673
                                                                                                                                                                                                                                                                                 6,132.51
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Target National Bank
                                                                     Target
                                                                     PO Box 9475
                                                                     Minneapolis, MN 55459



                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Target National Bank
                                                                     Target National Bank
                                                                     C/O Target Credit Services
                                                                     PO Box 1581
                                                                     Minneapolis, MN 55440-1581


                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                                                                                                                        Target National Bank
                                                                     Target National Bank
                                                                     3901 West 53rd Street
                                                                     Sioux Falls, SD 57106-4216



                                                                     Sheet no.       8 of      10 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                              7,785.14
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official Form 09-25588-MBK
                                                                                        6F) (12/07) - Cont.           Doc 1          Filed 06/16/09 Entered 06/16/09 17:36:11                                                          Desc Main
                                                                                                                                    Document      Page 41 of 61
                                                                     IN RE Buck, Raymond Paul Jr. & Buck, Tina Marie                                                                                            Case No.
                                                                                                                             Debtor(s)                                                                                                                (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 2520                                                                J Open account opened 2/09
                                                                     Toms River Anesthesia Associates                                                                   Medical services rendered
                                                                     PO Box 479
                                                                     Cliffside Park, NJ 07010

                                                                                                                                                                                                                                                                                   127.80
                                                                     ACCOUNT NO. 2821                                                                J Open account opened 4/09
                                                                     Toms River Anesthesia Associates                                                                   Medical services rendered
                                                                     PO Box 479
                                                                     Cliffside Park, NJ 07010
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                                                                                                                                                                                                                                                                                   852.05
                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     Sheet no.       9 of      10 continuation sheets attached to                                                                                                        Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                                979.85
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $                             40,038.64
                                                                             Case 09-25588-MBK             Doc 1     Filed 06/16/09 Entered 06/16/09 17:36:11                   Desc Main
                                                                                                                    Document      Page 42 of 61
                                                                     IN RE Buck, Raymond Paul Jr. & Buck, Tina Marie                                         Case No.
                                                                                                                 Debtor(s)

                                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                    Continuation Sheet - Page 10 of 10
                                                                     The Debtors dispute those debts listed in the prior schedules as "disputed" to the extent of any late fees, over-the-limit fees,
                                                                     penalty interest fees, check-by-phone fees, account review fees, collection fees, credit availability fees, account review and
                                                                     account status fees, and any other similar, related or other collateral charges or fees however described.
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                                                                              Case
                                                                     B6G (Official Form09-25588-MBK
                                                                                       6G) (12/07)                       Doc 1        Filed 06/16/09 Entered 06/16/09 17:36:11                                          Desc Main
                                                                                                                                     Document      Page 43 of 61
                                                                     IN RE Buck, Raymond Paul Jr. & Buck, Tina Marie                                                                           Case No.
                                                                                                                                 Debtor(s)                                                                                  (If known)

                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                        Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in
                                                                     contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each
                                                                     lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent or guardian,
                                                                     such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                     üCheck this box if debtor has no executory contracts or unexpired leases.
                                                                                                                                                                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                         STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                           OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                           STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                              Case
                                                                     B6H (Official Form09-25588-MBK
                                                                                       6H) (12/07)                        Doc 1        Filed 06/16/09 Entered 06/16/09 17:36:11                                           Desc Main
                                                                                                                                      Document      Page 44 of 61
                                                                     IN RE Buck, Raymond Paul Jr. & Buck, Tina Marie                                                                            Case No.
                                                                                                                                  Debtor(s)                                                                                   (If known)

                                                                                                                                     SCHEDULE H - CODEBTORS
                                                                        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor in the schedules
                                                                     of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                                                                     California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement
                                                                     of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
                                                                     territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
                                                                     a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
                                                                     name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                         Check this box if debtor has no codebtors.

                                                                                                NAME AND ADDRESS OF CODEBTOR                                                               NAME AND ADDRESS OF CREDITOR


                                                                     Rockin Entertainment                                                                      First Equity Card Corporation
                                                                     248 Long Branch Avenue                                                                    PO Box 84075
                                                                     Bayville, NJ 08721                                                                        Columbus, GA 31901-4075
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                                                                               Case
                                                                     B6I (Official      09-25588-MBK
                                                                                   Form 6I) (12/07)                    Doc 1        Filed 06/16/09 Entered 06/16/09 17:36:11                                             Desc Main
                                                                                                                                   Document      Page 45 of 61
                                                                     IN RE Buck, Raymond Paul Jr. & Buck, Tina Marie                                                                      Case No.
                                                                                                                               Debtor(s)                                                                                     (If known)

                                                                                                     SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                     The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed, unless the spouses
                                                                     are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on this form may differ from the current
                                                                     monthly income calculated on From 22A, 22B, or 22C.
                                                                      Debtor's Marital Status                                                            DEPENDENTS OF DEBTOR AND SPOUSE
                                                                      Married                                     RELATIONSHIP(S):                                                                                             AGE(S):
                                                                                                                  Son                                                                                                          16
                                                                                                                  Daughter                                                                                                     11
                                                                                                                  Son                                                                                                          9
                                                                                                                  Son                                                                                                          7


                                                                      EMPLOYMENT:                                            DEBTOR                                                                      SPOUSE
                                                                      Occupation                See Schedule Attached
                                                                      Name of Employer
                                                                      How long employed
                                                                      Address of Employer



                                                                     INCOME: (Estimate of average or projected monthly income at time case filed)                                                           DEBTOR                            SPOUSE
                                                                     1. Current monthly gross wages, salary, and commissions (prorate if not paid monthly)                                    $               3,811.39 $
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                                                                     2. Estimated monthly overtime                                                                                            $                        $
                                                                     3. SUBTOTAL                                                                                                              $               3,811.39 $                              0.00
                                                                     4. LESS PAYROLL DEDUCTIONS
                                                                       a. Payroll taxes and Social Security                                                                                   $                   403.66 $
                                                                       b. Insurance                                                                                                           $                          $
                                                                       c. Union dues                                                                                                          $                          $
                                                                       d. Other (specify) See Schedule Attached                                                                               $                   634.39 $
                                                                                                                                                                                              $                          $
                                                                     5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                        $               1,038.05 $                              0.00
                                                                     6. TOTAL NET MONTHLY TAKE HOME PAY                                                                                       $               2,773.34 $                              0.00

                                                                     7. Regular income from operation of business or profession or farm (attach detailed statement)                           $                               $
                                                                     8. Income from real property                                                                                             $                               $
                                                                     9. Interest and dividends                                                                                                $                               $
                                                                     10. Alimony, maintenance or support payments payable to the debtor for the debtor’s use or
                                                                     that of dependents listed above                                                                                          $                               $
                                                                     11. Social Security or other government assistance
                                                                       (Specify)                                                                                                              $                               $
                                                                                                                                                                                              $                               $
                                                                     12. Pension or retirement income                                                                                         $                               $
                                                                     13. Other monthly income
                                                                       (Specify)                                                                                                              $                               $
                                                                                                                                                                                              $                               $
                                                                                                                                                                                              $                               $

                                                                     14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                       $                               $
                                                                     15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                         $               2,773.34 $                              0.00

                                                                     16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15;
                                                                     if there is only one debtor repeat total reported on line 15)                                                                            $                2,773.34
                                                                                                                                                                                              (Report also on Summary of Schedules and, if applicable, on
                                                                                                                                                                                              Statistical Summary of Certain Liabilities and Related Data)

                                                                     17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                     None
                                                                              Case 09-25588-MBK             Doc 1     Filed 06/16/09 Entered 06/16/09 17:36:11           Desc Main
                                                                                                                     Document      Page 46 of 61
                                                                     IN RE Buck, Raymond Paul Jr. & Buck, Tina Marie                                      Case No.
                                                                                                                  Debtor(s)

                                                                                               SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                                                       Continuation Sheet - Page 1 of 1

                                                                     EMPLOYMENT:           DEBTOR                                               SPOUSE
                                                                     Occupation            Diesel Mechanic
                                                                     Name of Employer      Hydroscience, Inc.
                                                                     How long employed     6 years and 7 months
                                                                     Address of Employer   320 West Water St.
                                                                                           Toms River, NJ 08753
                                                                     Occupation            Entertainer/Disc Jockey
                                                                     Name of Employer      M & P Corp, Inc. DBA High Velocity
                                                                     How long employed     3 years
                                                                     Address of Employer   226 Atlantic City Boulevard
                                                                                           Beachwood, NJ 08722
                                                                                                                                                                     DEBTOR      SPOUSE
                                                                     Other Payroll Deductions:
                                                                     SDI                                                                                               12.65
                                                                     SUI                                                                                               13.56
                                                                     Sett                                                                                               0.74
                                                                     S-125                                                                                            594.19
                                                                     Medical                                                                                            5.37
                                                                     Garnishment                                                                                        7.06
                                                                     Loan                                                                                               0.82
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                                                                               Case
                                                                     B6J (Official Form 09-25588-MBK
                                                                                        6J) (12/07)                    Doc 1        Filed 06/16/09 Entered 06/16/09 17:36:11                                       Desc Main
                                                                                                                                   Document      Page 47 of 61
                                                                     IN RE Buck, Raymond Paul Jr. & Buck, Tina Marie                                                                       Case No.
                                                                                                                               Debtor(s)                                                                               (If known)

                                                                                               SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed. Prorate any payments made biweekly,
                                                                     quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from the deductions from income allowed
                                                                     on Form22A or 22C.
                                                                        Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of
                                                                     expenditures labeled “Spouse.”

                                                                     1. Rent or home mortgage payment (include lot rented for mobile home)                                                                              $            1,987.00
                                                                         a. Are real estate taxes included? Yes ü No
                                                                         b. Is property insurance included? Yes ü No
                                                                     2. Utilities:
                                                                         a. Electricity and heating fuel                                                                                                                $              120.00
                                                                         b. Water and sewer                                                                                                                             $               40.00
                                                                         c. Telephone                                                                                                                                   $              170.00
                                                                         d. Other Cable Television, Internet And Telephone (Combined Bill)                                                                              $              188.14
                                                                                                                                                                                                                        $
                                                                     3. Home maintenance (repairs and upkeep)                                                                                                           $               50.00
                                                                     4. Food                                                                                                                                            $              645.00
                                                                     5. Clothing                                                                                                                                        $               75.00
                                                                     6. Laundry and dry cleaning                                                                                                                        $               15.00
                                                                     7. Medical and dental expenses                                                                                                                     $              150.00
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                                                                     8. Transportation (not including car payments)                                                                                                     $              120.00
                                                                     9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                $               50.00
                                                                     10. Charitable contributions                                                                                                                       $
                                                                     11. Insurance (not deducted from wages or included in home mortgage payments)
                                                                         a. Homeowner’s or renter’s                                                                                                                     $
                                                                         b. Life                                                                                                                                        $
                                                                         c. Health                                                                                                                                      $
                                                                         d. Auto                                                                                                                                        $              150.00
                                                                         e. Other                                                                                                                                       $
                                                                                                                                                                                                                        $
                                                                     12. Taxes (not deducted from wages or included in home mortgage payments)
                                                                         (Specify)                                                                                                                                      $
                                                                                                                                                                                                                        $
                                                                     13. Installment payments: (in chapter 11, 12 and 13 cases, do not list payments to be included in the plan)
                                                                         a. Auto                                                                                                                                        $
                                                                         b. Other                                                                                                                                       $
                                                                                                                                                                                                                        $
                                                                     14. Alimony, maintenance, and support paid to others                                                                                               $
                                                                     15. Payments for support of additional dependents not living at your home                                                                          $
                                                                     16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                   $
                                                                     17. Other Hair Cuts, Cosmetics And Personal Hygiene Products                                                                                       $                20.00
                                                                                    School Lunches, Books, Tuition, Fees And Other Expenses                                                                             $                30.00
                                                                                                                                                                                                                        $

                                                                     18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and, if
                                                                     applicable, on the Statistical Summary of Certain Liabilities and Related Data.                                                                    $            3,810.14

                                                                     19. Describe any increase or decrease in expenditures anticipated to occur within the year following the filing of this document:
                                                                     None




                                                                     20. STATEMENT OF MONTHLY NET INCOME
                                                                         a. Average monthly income from Line 15 of Schedule I                                                                                           $            2,773.34
                                                                         b. Average monthly expenses from Line 18 above                                                                                                 $            3,810.14
                                                                         c. Monthly net income (a. minus b.)                                                                                                            $           -1,036.80
                                                                              Case
                                                                     B6 Declaration     09-25588-MBK
                                                                                    (Official Form 6 - Declaration) Doc
                                                                                                                    (12/07) 1       Filed 06/16/09 Entered 06/16/09 17:36:11                                           Desc Main
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                                                                     IN RE Buck, Raymond Paul Jr. & Buck, Tina Marie                                                                     Case No.
                                                                                                                               Debtor(s)                                                                                    (If known)

                                                                                                             DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                      DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                      27 sheets, and that they are
                                                                     true and correct to the best of my knowledge, information, and belief.

                                                                     Date: June 16, 2009                                  Signature: /s/ Raymond Paul Buck, Jr.
                                                                                                                                                                                                                                                       Debtor
                                                                                                                                       Raymond Paul Buck, Jr.

                                                                     Date: June 16, 2009                                  Signature: /s/ Tina Marie Buck
                                                                                                                                                                                                                                         (Joint Debtor, if any)
                                                                                                                                       Tina Marie Buck
                                                                                                                                                                                               [If joint case, both spouses must sign.]

                                                                                   DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                     compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                     and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                     bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                                                                     any fee from the debtor, as required by that section.
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                                                                     Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                           Social Security No. (Required by 11 U.S.C. § 110.)
                                                                     If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
                                                                     responsible person, or partner who signs the document.



                                                                     Address




                                                                     Signature of Bankruptcy Petition Preparer                                                                          Date

                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                                                                     is not an individual:


                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                     imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                                                                                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

                                                                     I, the                                                                     (the president or other officer or an authorized agent of the corporation or a
                                                                     member or an authorized agent of the partnership) of the
                                                                     (corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                                                                     schedules, consisting of          sheets (total shown on summary page plus 1), and that they are true and correct to the best of my
                                                                     knowledge, information, and belief.



                                                                     Date:                                                Signature:


                                                                                                                                                                                                 (Print or type name of individual signing on behalf of debtor)

                                                                                   [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                              Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                               Case
                                                                     B7 (Official Form 7)09-25588-MBK
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                                                                                                                              United States Bankruptcy Court
                                                                                                                                   District of New Jersey

                                                                     IN RE:                                                                                                       Case No.
                                                                     Buck, Raymond Paul Jr. & Buck, Tina Marie                                                                    Chapter 7
                                                                                                                      Debtor(s)

                                                                                                                       STATEMENT OF FINANCIAL AFFAIRS
                                                                        This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
                                                                     is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
                                                                     is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
                                                                     farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
                                                                     personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
                                                                     or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
                                                                     25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question,
                                                                     use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                                                                                             DEFINITIONS

                                                                       "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business"
                                                                     for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following:
                                                                     an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
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                                                                     partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
                                                                     form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                       "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
                                                                     which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of
                                                                     a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.


                                                                     1. Income from employment or operation of business
                                                                      None   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
                                                                             including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
                                                                             case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
                                                                             maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
                                                                             beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                             under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)
                                                                                 AMOUNT       SOURCE
                                                                                 17,755.83    2009 Husband: Hydroscience, Inc., Toms River NJ (through 6/8/2009)
                                                                                  2,325.00    2009 Husband: M & R Corporation t/a High Fidelity, Beachwood NJ (through 6/10/2009)
                                                                                  1,580.00    2009 Wife: Renee and Thomas Fisher, Beachwood NJ (through 5/29/2009)
                                                                                 40,137.00    2008 Husband: Hydroscience, Inc., Toms River NJ
                                                                                 37,879.00    2007 Husband: Hydroscience, Inc., Toms River NJ
                                                                     2. Income other than from employment or operation of business
                                                                      None   State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor’s business during the
                                                                             two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
                                                                             separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                             the spouses are separated and a joint petition is not filed.)
                                                                                 AMOUNT       SOURCE
                                                                                      0.00    2009 Joint: none
                                                                                     18.00    2008 Joint: Interest income
                                                                                    607.00    2008 Husband: Business income from disc jockey services (net)
                                                                                  1,623.00    2007 Husband: Business income from disc jockey services (net)
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                                                                     3. Payments to creditors
                                                                     Complete a. or b., as appropriate, and c.
                                                                      None   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
                                                                      ü      debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
                                                                             constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
                                                                             a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
                                                                             counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                      None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
                                                                      ü      preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
                                                                             $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
                                                                             obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married
                                                                             debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint petition
                                                                             is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
                                                                      ü      who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     4. Suits and administrative proceedings, executions, garnishments and attachments
                                                                      None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
                                                                      ü      bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
                                                                             not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                                      None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
                                                                      ü      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
                                                                             or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     5. Repossessions, foreclosures and returns
                                                                      None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
                                                                      ü      the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                             include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)

                                                                     6. Assignments and receiverships
                                                                      None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
                                                                      ü      (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
                                                                             unless the spouses are separated and joint petition is not filed.)

                                                                      None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
                                                                             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     7. Gifts
                                                                      None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
                                                                      ü      gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
                                                                             per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     8. Losses
                                                                      None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     9. Payments related to debt counseling or bankruptcy
                                                                      None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
                                                                             consolidation, relief under bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
                                                                             of this case.
                                                                                                                                      DATE OF PAYMENT, NAME OF                     AMOUNT OF MONEY OR DESCRIPTION
                                                                     NAME AND ADDRESS OF PAYEE                                        PAYOR IF OTHER THAN DEBTOR                           AND VALUE OF PROPERTY
                                                                     Law Offices of Lee D. Gottesman                                  5/10/2009                                                           1,850.00
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                                                                     509 Main Street, P.O. Box 1508
                                                                     Toms River, NJ 08754-1508
                                                                     10. Other transfers
                                                                      None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
                                                                      ü      absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                             chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                      None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar
                                                                      ü      device of which the debtor is a beneficiary.

                                                                     11. Closed financial accounts
                                                                      None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
                                                                      ü      transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
                                                                             certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
                                                                             brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                             accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                     12. Safe deposit boxes
                                                                      None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
                                                                      ü      preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
                                                                             both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                                     13. Setoffs
                                                                      None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
                                                                      ü      case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     14. Property held for another person
                                                                      None   List all property owned by another person that the debtor holds or controls.
                                                                      ü
                                                                     15. Prior address of debtor
                                                                      None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
                                                                      ü      that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                     16. Spouses and Former Spouses
                                                                      None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
                                                                      ü      Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
                                                                             identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.

                                                                     17. Environmental Information
                                                                     For the purpose of this question, the following definitions apply:
                                                                     “Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
                                                                     wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
                                                                     the cleanup of these substances, wastes or material.
                                                                     “Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
                                                                     debtor, including, but not limited to, disposal sites.
                                                                     “Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
                                                                     or similar term under an Environmental Law.

                                                                      None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
                                                                      ü      potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
                                                                             Environmental Law.

                                                                      None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
                                                                      ü      the governmental unit to which the notice was sent and the date of the notice.
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                                                                      None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
                                                                      ü      is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

                                                                     18. Nature, location and name of business
                                                                      None   a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole
                                                                             proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
                                                                             commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.
                                                                                                                 LAST FOUR DIGITS
                                                                                                                 OF SOCIAL-
                                                                                                                 SECURITY OR OTHER
                                                                                                                 INDIVIDUAL
                                                                                                                 TAXPAYER-I.D. NO.                                                      NATURE OF             BEGINNING AND
                                                                     NAME                                        (ITIN)/COMPLETE EIN ADDRESS                                            BUSINESS              ENDING DATES
                                                                     Rockin Entertainment                        xxx-xx-2577         248 Long Branch Avenue                             Disc jockey           June 2005 to the
                                                                                                                                     Bayville, NJ 08721                                 entertainment         present
                                                                                                                                                                                        services
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                                                                      None   b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.
                                                                      ü
                                                                     The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been, within
                                                                     six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of more than
                                                                     5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed
                                                                     in a trade, profession, or other activity, either full- or part-time.

                                                                     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within the six
                                                                     years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go directly to the
                                                                     signature page.)

                                                                     19. Books, records and financial statements
                                                                      None   a. List all bookkeepers and accountants who within the two years immediately preceding the filing of this bankruptcy case kept or supervised the
                                                                      ü      keeping of books of account and records of the debtor.

                                                                      None   b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books of account
                                                                      ü      and records, or prepared a financial statement of the debtor.

                                                                      None   c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
                                                                      ü      debtor. If any of the books of account and records are not available, explain.

                                                                      None   d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom a financial statement was issued
                                                                      ü      within the two years immediately preceding the commencement of the case by the debtor.

                                                                     20. Inventories
                                                                      None   a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
                                                                      ü      dollar amount and basis of each inventory.

                                                                      None   b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.
                                                                      ü
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                                                                     21. Current Partners, Officers, Directors and Shareholders
                                                                      None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
                                                                      ü
                                                                      None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls,
                                                                      ü      or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                     22. Former partners, officers, directors and shareholders
                                                                      None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement
                                                                      ü      of this case.

                                                                      None   b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
                                                                      ü      preceding the commencement of this case.

                                                                     23. Withdrawals from a partnership or distributions by a corporation
                                                                      None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
                                                                      ü      bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this
                                                                             case.

                                                                     24. Tax Consolidation Group
                                                                      None   If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated group for tax
                                                                      ü      purposes of which the debtor has been a member at any time within six years immediately preceding the commencement of the case.
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                                                                     25. Pension Funds.
                                                                      None   If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an employer,
                                                                      ü      has been responsible for contributing at any time within six years immediately preceding the commencement of the case.
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                                                                     [If completed by an individual or individual and spouse]

                                                                     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                     thereto and that they are true and correct.



                                                                     Date: June 16, 2009                        Signature /s/ Raymond Paul Buck, Jr.
                                                                                                                of Debtor                                                              Raymond Paul Buck, Jr.

                                                                     Date: June 16, 2009                        Signature /s/ Tina Marie Buck
                                                                                                                of Joint Debtor                                                                Tina Marie Buck
                                                                                                                (if any)

                                                                                                                                0 continuation pages attached


                                                                      Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 3571.
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             Barclays Bank Delaware
             Attention: Customer Service Department
             PO Box 8801
             Wilmington, DE 19899


             Barclays Bank Delaware
             Attention: Customer Service Department
             PO Box 8802
             Wilmington, DE 19899


             Barclays Bank Delaware
             Attention: Customer Service Department
             PO Box 8833
             Wilmington, DE 19899


             Barclays Bank Delaware
             125 South West Street
             Wilmington, DE 19801


             Central Mortgage Company
             Attention: Bankruptcy Department
             1100 Virginia Drive
             Fort Washington, PA 19034


             Chase
             PO Box 15299
             Wilmington, DE        19850-5298


             Chase
             PO Box 15298
             Wilmington, DE        19850-5298


             Chase
             PO Box 15548
             Wilmington, DE        19886-5548
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             Chase
             800 Brooksedge Boulevard
             Westerville, OH 43081


             Community Medical Center
             PO Box 903
             Oceanport, NJ 07757


             Discover
             PO Box 15316
             Wilmington, DE        19850-5192


             Discover Financial
             PO Box 3008
             New Albany, OH 43054-3008


             Discover Financial
             Attention: Bankrutpcy Department
             PO Box 3025
             New Albany, OH 43054


             Discover More Card
             PO Box 30421
             Salt Lake City, UT         84130-0421


             Discover More Card
             PO Box 30943
             Salt Lake City, UT         84130


             Equifax Information Service Center
             Attention: Dispute Resolution Center
             PO Box 105873
             Atlanta, GA 30348
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             Experian Credit Information Systems
             PO Box 9600
             Allen, TX 75013


             Fashion Bug
             PO Box 856021
             Louisville, KY        40285-6021


             Fashion Bug
             PO Box 869
             Milford, OH       45150


             Fashion Bug
             PO Box 84073
             Columbus, GA        31908-4073


             Fashion Bug
             PO Box 319
             Milford, OH       45150-0319


             Fashion Bug
             1103 Allen Drive
             Milford, OH 45150


             Fashion Bug
             Attention: Bankruptcy
             6356 Corley Road
             Norcross, GA 30091


             First Equity Card Corporation
             PO Box 23029
             Columbus, GA 31902-3029


             First Equity Card Corporation
             PO Box 84075
             Columbus, GA 31901-4075
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             GE Money Bank
             PO Box 981401
             El Paso, TX 79998-1401


             GE Money Bank
             PO Box 981400
             El Paso, TX 79998-1400


             GE Money Bank
             Attention: Bankruptcy
             PO Box 103104
             Roswell, GA 30076


             GE Money Bank
             PO Box 981439
             El Paso, TX 79998-1439


             GE Money Bank
             PO Box 981127
             El Paso, TX 79998-1127


             GE Money Bank
             PO Box 981438
             El Paso, TX 79998-1438


             GE Money Bank
             Attention: Bankruptcy
             PO Box 103106
             Roswell, GA 30076


             GE Money Bank
             PO Box 103065
             Roswell, GA 30076
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             GMAC Mortgage
             PO Box 205
             Waterloo, IA 50704-0205


             GMAC Mortgage
             PO Box 4622
             Waterloo, IA 50704-4622


             Lowes
             PO Box 981064
             El Paso, TX 79998-1064


             Medical Radiology Group
             PO Box 1928
             Voorhees, NJ 08043


             Monmouth Medical Center
             PO Box 903
             Oceanport, NJ 07757


             Rockin Entertainment
             248 Long Branch Avenue
             Bayville, NJ 08721


             Target
             PO Box 9475
             Minneapolis, MN        55459


             Target National Bank
             C/O Target Credit Services
             PO Box 1581
             Minneapolis, MN 55440-1581
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             Target National Bank
             C/O Target Credit Services
             PO Box 673
             Minneapolis, MN 55440-0673


             Target National Bank
             3901 West 53rd Street
             Sioux Falls, SD 57106-4216


             Toms River Anesthesia Associates
             PO Box 479
             Cliffside Park, NJ 07010


             TransUnion Consumer Solutions
             PO Box 2000
             Chester, PA 19022-2000


             Washington Mutual Bank
             Attention: Bankrutpcy Department
             PO Box 10467
             Greenville, SC 29603
                                                                              Case 09-25588-MBK            Doc 1     Filed 06/16/09 Entered 06/16/09 17:36:11                   Desc Main
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                                                                                                                   United States Bankruptcy Court
                                                                                                                        District of New Jersey

                                                                     IN RE:                                                                                  Case No.
                                                                     Buck, Raymond Paul Jr. & Buck, Tina Marie                                               Chapter 7
                                                                                                            Debtor(s)

                                                                                                            VERIFICATION OF CREDITOR MATRIX
                                                                     The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                                                                     Date: June 16, 2009                    Signature: /s/ Raymond Paul Buck, Jr.
                                                                                                                        Raymond Paul Buck, Jr.                                                   Debtor



                                                                     Date: June 16, 2009                    Signature: /s/ Tina Marie Buck
                                                                                                                        Tina Marie Buck                                              Joint Debtor, if any
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